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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND

   _____________________________________
                                        )
   KAREN PETRO, as Administratrix of    )
   the Estate of Mark Jackson,          )
        Plaintiff,                      )
                                        )
                  v.                    )                 C.A. No. 09-213 S
                                        )
   TOWN OF WEST WARWICK, by and through )
   its Finance Director Malcolm A.      )
   Moore; PATRICK J. KELLEY,            )
   individually and in his              )
   representative capacity;             )
   SEAN LUKOWICZ, individually and in   )
   his representative capacity; and     )
   SCOTT THORNTON, individually and in )
   his representative capacity,         )
        Defendants.                     )
   _____________________________________)

                      FINDINGS OF FACT AND CONCLUSIONS OF LAW

   WILLIAM E. SMITH, United States District Judge.

           In   the    wake    of   Mark    Jackson’s     death     while    in    police

   custody,      Plaintiff      Karen      Petro,   as    Administratrix      of    Mark

   Jackson’s Estate, brought this action against the Town of West

   Warwick (the “Town”) and West Warwick Police Officers Patrick

   Kelley, Sean Lukowicz, and Scott Thornton, individually and in

   their        representative             capacities          (collectively,         the

   “Defendants”).         The Complaint alleges claims against Officers

   Kelley, Lukowicz, and Thornton for the violation of Jackson’s

   constitutional         rights,       assault     and        battery,     and    gross

   negligence;        Plaintiff     further    alleges     a    respondeat    superior



    
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   claim, related to the gross negligence and assault and battery

   claims, against the Town.

         Although            the        facts     of      this      case        are     seemingly

   straightforward           --     indeed,      the     pertinent        events      took      place

   within     a    relatively           short    time     period       and    much    of       it   was

   recorded       on    video      --    the    case     nonetheless         presents      numerous

   novel, important, and difficult issues of law.

         The Court presided over a nine-day bench trial, beginning

   on   October        31,   2011.         After    trial,       the    Court    posed       written

   questions       to    the       parties,      which    they     were      invited,      but      not

   required, to answer in their post-trial briefs.                              Thereafter, the

   parties submitted post-trial briefs and reply briefs.                                        After

   considering the evidence presented at trial and the pre-trial

   and post-trial memoranda submitted by the parties, the Court

   makes the following findings of fact and conclusions of law,

   pursuant to Rule 52(a) of the Federal Rules of Civil Procedure.

   To   the       extent     that       any     finding    of     fact       reflects      a    legal

   conclusion, it should be, to that extent, deemed a conclusion of

   law, and vice versa.

         Many of the facts found below are based on a video of the

   back lot of the West Warwick Police Department (“WWPD” or the




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                                                                                                                1
   “Department”), recorded by the WWPD’s own recording system.

   (See generally Ex. 12.)

   I.            Findings of Fact

                 A.             Mark Jackson

                 Mark Jackson was 47 years old when he died on June 27,

   2008.                (Ex. 7a.)                         At the time of his death, he was a large man,

   standing 6’2” and weighing over 250 pounds.                                            (Ex. 5.)

                 Jackson                    had             suffered   from   psychiatric    or      neurological

   disorders for at least fifteen years prior to his death.                                                 (Ex.

   7c.)               His diagnoses over the years included organic delusional

   disorder,                       post-traumatic                  stress     disorder,    and    schizophrenia.

   (Exs. 7c, 7g, 7j, 7m.)                                         According to the exhibits and testimony

   admitted at trial, Jackson had no reported history of any acute

   phase or acute episode of schizophrenia.                                          (Trial Tr. vol. 5, 91,

   Nov. 4, 2011; Exs. 7a–7m.)

                 Jackson lived a socially isolated and circumscribed life.

   (Trial Tr. vol. 5, 44-45, 59-60, 93-94.)                                          For many years leading

   up to his death, his social contacts consisted of spending the


                                                               
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          During trial the video was shown more than eighteen times,
   with various witnesses on the stand. The Court has watched the
   video countless additional times in the preparation of this
   Opinion.    Understanding the facts discussed herein will be
   assisted by watching the video. For this reason, the Court will
   make access to this exhibit available through the Court’s
   website in the week following the issuance of this Findings of
   Fact and Conclusions of Law.    Interested readers should follow
   the link provided at the website.       See www.rid.uscourts.gov
   (follow “Judges;” then follow “Opinion Related Material”).
                                                                         3 
    
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   day and evening with his mother.           (Id. vol. 5, 44-45; Trial Tr.

   vol. 6, 228-229, Nov. 8, 2011; Ex. 7m.)               He drove his mother

   around to do her errands and watched television in her apartment

   at 88 West Warwick Avenue in West Warwick, Rhode Island.              (Trial

   Tr. vol. 5, 44-45; id. vol. 6, 215.)               Otherwise, his regular

   routine, which he followed “like clockwork” according to the

   testimony of one witness who saw him regularly, consisted of

   going outdoors to smoke and walking to several businesses within

   a one-block radius of his mother’s home for tobacco products,

   coffee, and fast food.         (Id. vol. 5, 44-45; id. vol. 6, 228-

   229.)

           According to Social Security assessments and the testimony

   of   Debra   Pinals,   M.D.,    a   psychiatrist     who   provided   expert

   testimony     on    behalf     of    Plaintiff,     Jackson    had    severe

   difficulties communicating with and understanding others as a

   result of his disability.       (Id. vol. 5, 33-34, 37-38, 45, 93-94;

   Exs. 7g, 7m.)

           Jackson’s condition had remained relatively constant, and

   he had not taken medication for his condition for many years.

   (Trial Tr. vol. 4, 68, Nov. 3, 2011; id. vol. 5, 77-78; Exs. 7g,

   7m.)     He relied on routines that minimized social contacts to

   compensate    for   his   difficulties      in    social   interaction   and

   communicating with others.          (Trial Tr. vol. 4, 68-70; id. vol.

   5, 45.)

                                         4 
    
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          With the exception of his mother, Jackson kept to himself

   and limited his communications with others to what was required

   to make his purchases.          (Id. vol. 2, 70, 73, Nov. 1, 2011; id.

   vol. 5, 108-09.)       A shop owner and a neighbor testified that

   they never saw Jackson do anything inappropriate.                     (Id. vol. 2,

   54-55; id. vol. 5, 112.)

          In   the   center   of    the   oddly-configured            block   in   which

   Jackson’s mother’s apartment is situated, there is a parking lot

   immediately adjacent to his mother’s apartment building.                        (Id.

   vol. 6, 222-24; Ex. 30.)         This parking lot is shared by Joyal’s

   Liquors (“Joyal’s”), a liquor and tobacco store located at 90

   West Warwick Avenue, and the residents of a multi-family house

   that is located in the middle of the parking lot, with the

   street address of 241 Brookside Avenue.                   (Trial Tr. vol. 2, 50-

   51.)

          The parking lot is open to the street and partially fenced

   in back.     (Ex. 30.)     This parking lot is also used as a short-

   cut in the neighborhood with access to 88 West Warwick Avenue

   via a short path.      (Trial Tr. vol. 2, 56-57; id. vol. 5, 103-04;

   Ex. 30.)

          Jackson    purchased     tobacco        products    daily    from   Joyal’s.

   (Trial Tr. vol. 5, 111.)         His mother did not allow him to smoke

   in her apartment, so he typically went out to smoke many times a

   day.    (Id. vol. 6, 214; id. vol. 5, 44-45.)                  He regularly used

                                             5 
    
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   Joyal’s back parking lot as a place to smoke, both during the

   day and in the evening.            (Id. vol. 2, 54, 62.)       The owner and

   employees of Joyal’s and the tenants of the apartment building

   located at 241 Brookside Avenue were aware of Jackson’s habit.

   (Id. vol. 2, 54, 62; id. vol. 5, 106, 108.)

         Jackson was not a violent person.                 (Id. vol. 2, 70; id.

   vol. 5, 43-44, 112.)          His medical and psychiatric records and

   the   records     of   the   Rhode    Island     Attorney   General’s     Office

   reflect no prior involvement with law enforcement and no history

   of violent behavior.         (Id. vol. 5, 34-36; id. vol. 7, 174, Nov.

   9, 2011; Exs. 7j, 18.)            Indeed, the only reported instances of

   Jackson acting out or losing his temper were an instance when he

   saw children throwing rocks and shouted at them to stop and

   another instance when he became agitated because he believed his

   mother was driving too fast.          (Trial Tr. vol. 5, 43-44.)

         B.    The Encounter

         On   the    morning    of   June   27,    2008,   following   his    usual

   practice, Jackson drove to his mother’s apartment and spent the

   day there.       (Id. vol. 6, 216-17.)         As she did from time to time,

   Jackson’s mother gave him permission to spend the night.                   (Id.

   vol. 6, 214-15.)         Jackson was in his normal, calm, baseline

   condition when he went outside to Joyal’s back parking lot to

   smoke at approximately 11:00 p.m. that evening.                 (Id. vol. 4,

   68; id. vol. 5, 29-30; id. vol. 6, 215.)

                                            6 
    
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         Also     at   approximately      11:00   p.m.    that    night,      a     WWPD

   dispatcher contacted Officers Sean Lukowicz and Patrick Kelley,

   who were on patrol that evening, and provided them with the

   following dispatch: “In front of Brookside at West Warwick of

   Joyal Liquors.        Subjects vandalizing the Joyal Liquor sign.”

   (Ex. 8b.)      Lukowicz and Kelley heard this dispatch.              (Trial Tr.

   vol. 1, 6, 131, Oct. 31, 2011; id. vol. 2, 76, 79-80.)

         When they received the call, Lukowicz and Kelley were in

   their respective patrol cars.            They were parked in the parking

   lot of a closed business up the street, having a conversation.

   (Id. vol. 1, 6; id. vol. 2, 76.)             It was a warm Friday evening,

   and there were many people out and about on the streets.                         (Id.

   vol. 1, 7; id. vol. 2, 78.)            Joyal’s was not located in a high-

   crime area.     (Id. vol. 7, 197-98.)

         Lukowicz and Kelley immediately proceeded in their separate

   patrol cars to Joyal’s.           They were both familiar with the signs

   located one above the other in front of Joyal’s, near the curb

   on the corner of West Warwick Avenue and Brookside Avenue, each

   having driven by the signs hundreds of times.                 (Id. vol. 1, 8;

   id. vol. 2, 80; Ex. 50.)           The officers approached Joyal’s from

   the   west   and    were   able   to   see   the   signs    from   West    Warwick

   Avenue.      (Trial Tr. vol. 1, 8-9; id. vol. 2, 83-84.)                       Kelley

   pulled his patrol car into the front parking lot at Joyal’s,

   which   gave    him   another     vantage    point    to   observe   the       signs.

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   Lukowicz pulled his patrol car onto Brookside Avenue, giving him

   a vantage point to observe the signs from that side.                                                       (Id. vol.

   2, 84-85.)                          Kelley observed the signs and saw no damage.                                   While

   Lukowicz testified that he did not recall whether he observed

   the signs, he did recall that he saw no damage or anything

   suspicious in the front parking lot.                                                  (Id. vol. 1, 9; id. vol.

   2, 84-85, 94.) 2                                  Joyal’s was closed at that time of night.                        (Id.

   vol. 1, 14.)

                 Kelley then drove his patrol car out of the front parking

   lot            of           Joyal’s                    onto      Brookside      Avenue,      proceeded       a     short

   distance, and pulled into the parking lot behind the store.

   (Id.              vol.             2,          85-86;           Ex.   2    at   3.)      That      parking       lot    is

   illuminated by three large halogen lights such that it is fairly

   well-lit                    at          night.                  (Trial    Tr.   vol.    5,   98;    Exs.     51,       52.)

   Lukowicz followed Kelley to the parking lot and parked to the

   right of Kelley’s patrol car; they both had their headlights

   illuminating the loading dock at Joyal’s.                                                    (Trial Tr. vol. 1,

   20-22;                 id.           vol.             2,       86.)      Kelley,   in   particular,        was     quite

   familiar with this back parking lot, having patrolled the area

   and passed through the parking lot regularly for the previous

   two-and-a-half years.                                          (Id. vol. 1, 14-15.)
                                                               
                 2
          While the reason for the original call to the police is
   not clear, the sign was not damaged. (See Stipulation, July 30,
   2010, ECF No. 52 (“On June 27, 2008, there was no damage or
   other vandalism to any signs located at Joyal’s Liquor
   store.”)).
                                                                              8 
    
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          Both Kelley and Lukowicz were aware that the parking lot

   was shared by the occupants and guests of the multi-family home

   located     in   the   middle   of    the        parking   lot    at   241   Brookside

   Avenue, as well as by the customers and staff of Joyal’s.                          (Id.

   vol.   1,   16;   id.    vol.   2,    88.)         They    were    also    aware   that

   immediately adjacent to the parking lot behind Joyal’s was the

   apartment building at 88 West Warwick Avenue.                     (Id. vol. 2, 89.)

          When Kelley and Lukowicz pulled into the back parking lot,

   their headlights illuminated Jackson standing facing them and

   smoking near one of the loading docks for Joyal’s.                        (Id. vol. 1,

   134, 183; Ex. 2 at 3.)               He was standing in the area of the

   parking lot near his mother’s apartment building at 88 West

   Warwick Avenue.         (See Ex. 53a (marking the spot where Jackson

   was standing when Kelley and Lukowicz first encountered him).)

          As Kelley and Lukowicz observed Jackson, they saw that the

   loading door was down as it should be, and they saw no damage to

   the loading docks or anything suspicious in the parking lot or

   the back of the Joyal’s building.                 (Trial Tr. vol. 1, 28-29; id.

   vol. 2, 90.)

          Lukowicz testified at his deposition that, at the time he

   first observed Jackson, there was not a reasonable basis to

   suspect that Jackson had committed, was committing, or was about

   to commit the crime of vandalism or any other crime because the

   signs in front of Joyal’s did not appear to be damaged and there

                                               9 
    
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    was no report of any other criminal activity.                                                        (Id. vol. 2, 97.)

    At trial, he acknowledged that this deposition testimony was

    true testimony when he gave it, but he proceeded to provide

    contradictory trial testimony. (Id. vol. 2, 96-97.)                                                               Lukowicz

    also testified that he had no reason to suspect that Jackson had

    vandalized any sign.                                           (Id. vol. 2, 96.)

                  Richard                    Silva,                the    Chief        of    the     West   Warwick     Police

    Department, 3 testified at his deposition that he was familiar
                                                                                                                             4
    with              this            location                     and   that,     in       his    professional   opinion,

    neither Lukowicz nor Kelley had a reasonable basis to suspect

    that Jackson had committed, was committing, or was about to

    commit a crime at the point in time that they first saw him

    because they observed no damage to the signs.                                                        (Id. vol. 7, 208-

    09, 211-12.)                              Kelley testified that from the first moment he saw

    Jackson from his cruiser, Kelley was determined to question him

    and, if necessary, physically detain him for questioning.                                                            (Id.

    vol. 1, 30-31, 208-09.)


                                                                
                  3
           Chief Silva was a sergeant for the WWPD in June 2008, but
    he since has been elevated within the Department to his current
    position.
                  4
           When he was a patrol officer, Chief Silva had patrolled
    the area that included this parking lot.     (Trial Tr. vol. 7,
    193-94.)   Moreover, Silva was designated by the Town of West
    Warwick to address this issue pursuant to Rule 30(b)(6) of the
    Federal Rules of Civil Procedure, and he had familiarized
    himself with all of the information bearing on the issue of
    reasonable suspicion prior to his deposition. (Id. vol. 7, 199,
    221-23.)
                                                                                 10 
     
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           When Kelley and Lukowicz saw Jackson illuminated in their

    headlights, Lukowicz turned on his search light and directed it

    at Jackson.         (Id. vol. 2, 86-87.)              Apparently having seen the

    patrol cars, Jackson immediately turned 180 degrees to his left

    and    started     walking     away     from    the    officers    and     toward     the

    opening in the fence on the other side of the parking lot.                          (Id.

    vol. 1, 26; id. vol. 2, 98.)                   Both officers then exited their

    patrol cars and started walking toward Jackson.                          (Id. vol. 1,

    135; id. vol. 2, 98.)

           Testimony about the speed at which Jackson walked away from

    the    officers      varied.      Both     Kelley       and    Lukowicz,      in    their

    interviews        with   the   Rhode     Island       State    Police,     which    were

    conducted     a    few   hours    after    the    incident,       stated    only    that

    Jackson walked away from them; they did not mention that he was

    walking at any accelerated speed.                  (Ex. 1 at 5; Ex. 2 at 4.)

    Kelley testified at trial that Jackson walked at a swift pace

    but was definitely walking, not running.                        (Trial Tr. vol. 1,

    31.)    Lukowicz recalled only that Jackson was walking “not slow,

    not fast, that he was just walking.”                  (Id. vol. 2, 98.)

           When they observed Jackson walking away from them, Kelley

    and Lukowicz ordered him to stop.                (Id. vol. 1, 36, 38; id. vol.

    2, 98.)      Jackson responded with words to the effect of “you’re

    not the boss of me.”           (Id. vol. 1, 38.)              The officers saw that

    he    had   his    right   hand    in    his     pocket.        (Id.   vol.    1,    31.)

                                              11 
     
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    Lukowicz testified that he did not feel threatened by Jackson

    having his hand in his pocket.                (Id. vol. 2, 106.)           Kelley

    testified that he was not sure why Jackson had his hand in his

    pocket; he stated, “I wasn’t certain if he had a weapon in his

    pocket or any other type of contraband.”                  (Id. vol. 1, 138.)

    Lukowicz and Kelley then ordered Jackson to remove his hand from

    his pocket.       (Id. vol. 1, 40; Ex. 1 at 5.)                  Jackson again

    responded   by    stating    “you’re    not    the   boss   of   me,”   and    he

    continued walking away from the officers.                 (Trial Tr. vol. 1,

    40.)

           Lukowicz   and   Kelley    acknowledged       at     trial   that     they

    understood Jackson’s statement “you’re not the boss of me” to be

    a refusal to follow their commands.             (Id. vol. 1, 40; id. vol.

    2, 102.)    Kelley testified that “you’re not the boss of me” was

    something an average adult would say to him and that Kelley

    “just assumed he was a non-compliant person.”                (Id. vol. 2, 5.)

    The officers testified that they decided to stop Jackson based

    on the following facts:          the dispatch call regarding possible

    vandalism; the fact that the business was closed; the time of

    night; and Jackson’s response to the officers, i.e., he turned

    away from them as they pulled into the parking lot, with his

    hand in his pocket.         (Id. vol. 1, 31, 134, 209-10; id. vol. 2,

    38, 101.)



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                  Kelley then hastened his pace to catch up with Jackson.

    (Id. vol. 1, 47.)                                         Kelley reached out to take hold of Jackson’s

    right arm, but before he could touch him, Jackson removed his

    right hand from his pocket and “swatted” or “flailed” his right

    arm at Kelley.                                   (Id. vol. 1, 49-50, 139; id. vol. 1, 140 (“Mr.

    Jackson removed his hand from his right pocket and swung his arm

    in a back-hand motion, swatted his arm towards [Kelley].                                                      Pretty

    good full arm swat at [Kelley].”); id. vol. 2, 109-10; Ex. 1 at

    6; Ex. 2 at 6 (“And he took his hand out of his pocket and he,

    and he slapped at me and tried to slap me in the way like a

    backhand.”).)                                 Kelley testified that, when he reached out for

    Jackson, it was his intention to physically restrain him from

    walking away.                               (Trial Tr. vol. 1, 49.)5

                  The parties dispute whether Jackson’s “swatting” gesture

    was           purely                 defensive                  or   overtly      aggressive     and     threatening.

    Kelley                 demonstrated                            the   gesture      at   trial   in   a    manner    that

    appeared                     very              aggressive             and    capable     of    causing    injury    to


                                                                
                  5
            Chief Silva testified at deposition that reasonable
    suspicion was still lacking when Jackson started walking away
    and refused to stop, up until the point when Jackson “swatted”
    his arm in Kelley’s direction.    (Id. vol. 7, 215-16, 220-21.)
    At trial, however, Chief Silva testified that, since his
    deposition, he has changed his opinion regarding reasonable
    suspicion, based upon further reflection and the fact that, when
    they   confronted   Jackson,  Kelley   and   Lukowicz  had   not
    conclusively determined that the signs were undamaged.      (Id.
    vol. 7, 220-21; id. vol. 8, 107-08, Nov. 10, 2011.) The Court
    credits Silva’s deposition testimony as representing his and the
    Town’s considered opinion.
                                                                                13 
     
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    Kelley.      Indeed, he testified at trial that he believed the

    gesture would have injured him if it had landed.                              (Id. vol. 1,

    57-58.)      However,        at   his       deposition,       he     testified       that   it

    appeared that Jackson was merely attempting to swat his arm

    away.     (Id. vol. 1, 55, 61.)              Kelley testified at his deposition

    that the gesture did not cause him fear and that he could not

    speculate as to whether it would have hurt him.                               (Id. vol. 1,

    58-59; Kelley Dep. 207-08.)                 Kelley stepped back, and Jackson’s

    gesture    did    not     result       in   any     physical        contact    whatsoever.

    (Trial Tr. vol. 1, 61-62.)

            In light of the circumstances surrounding the swat, the

    Court finds that Jackson swatted or flailed in a reactionary

    manner in response to Kelley’s attempt to reach out and make

    contact with him.            The Court further finds that this swat or

    flail was a defensive reaction, consistent with what any grown,

    larger    male    would      do   if    a   person      was   reaching        out    to   make

    unwanted    contact       with     him      and     that   it      was   not       especially

    aggressive       or   violent     in     nature.         Moreover,       it    was    not   an

    attempt    to    strike      or   injure      Kelley,      but      rather     a    defensive

    maneuver to prevent Kelley from making contact with him.                                    In

    light of the fact that Kelley had just reached out to touch

    Jackson, the Court also finds that Kelley reasonably should have

    perceived       the   flail/swat       to    be     a   defensive,       rather      than   an

    offensive,       move   on    Jackson’s        part.          The    Court     finds      that

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    Jackson’s flail/swat was not made in a threatening manner and

    would not place a reasonable person in fear of imminent bodily

    harm.                Likewise, the Court finds that Kelley was not reasonably

    in fear of being injured and that he would not have been injured

    if Jackson had made contact with his arm or hand.

                  Within seconds of Jackson swatting at Kelley, Kelley made

    the decision to arrest Jackson for assault.                                        (Id. vol. 1, 62,

    144; id. vol. 2, 111.)6

                  C.             The Struggle

                  After               the           instantaneous   decision   to   detain   him,   Kelley,

    with Lukowicz, immediately moved in and seized Jackson by his

    shoulders, attempting to put him to the ground using an arm-bar

    maneuver. 7                         Jackson physically resisted Kelley’s and Lukowicz’s


                                                                
                  6
           Lou Reiter, an expert offered by Plaintiff, testified that
    if Jackson’s arm movement was done in the manner that Kelley
    demonstrated at trial, it “would have been an aggressive move on
    the part of Mr. Jackson that would have warranted probable cause
    for resisting arrest, interfering with a police investigation,
    yes.”    (Trial Tr. vol. 3, 63, Nov. 2, 2011.)        He further
    testified that, “[i]t could be an assault, which is kind of an
    incomplete battery, sure. It could be interference.” (Id. vol.
    3, 64.)    Reiter testified that, if the swat was done in the
    manner demonstrated by Kelley at trial, while Jackson was
    walking away, then the officers had a right to seize him and
    arrest him for it. (Id. vol. 3, 64.) The Court is not bound,
    of course, by Mr. Reiter’s legal opinion, and in any event, the
    Court believes that Jackson’s flail occurred differently (i.e.,
    considerably less aggressively) than it was portrayed at trial
    by Kelley.
                  7
           Kelley testified that an arm-bar hold is a maneuver in
    which an officer puts his or her hands on the suspect to get the
    suspect to the ground. (Trial Tr. vol 1, 66.)
                                                                    15 
     
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    efforts to subdue him.           (Id. vol. 1, 64-66.)             Lukowicz attempted

    to take control of Jackson’s wrist.                 Jackson was aggressive and

    fought back vigorously with the officers.                        He pulled at their

    uniforms and actively wrestled with them.                        (Id. vol. 2, 139.)

    Jackson flailed his arms and kicked at the officers, making

    contact with one of Kelley’s legs.                  (Id. vol. 1, 144.)          While

    the officers were struggling to put him on the ground, Jackson

    asked them several times, “why are you doing this to me?”                           (Id.

    vol. 1, 67; Ex. 2 at 10-11.)

           Despite the officers’ efforts to hold him to the ground,

    Jackson was able to get to his feet.                      (Trial Tr. vol. 2, 139-

    40.)    Kelley then made the decision to use pepper spray “because

    we had him on the ground and it appeared as though he was very,

    very strong.        I felt as though that if we sprayed him it might

    give   us     an   advantage     to   get   him     secured       and   back   to    the

    station . . . .”          (Id. vol. 1, 146-47.)             But Jackson wiped the

    pepper spray off of his face and the struggle continued.                            (Id.

    vol. 1, 69.)

           The    officers    took   Jackson       to   the    ground    again;    Jackson

    became more combative and violent on this second takedown.                            He

    kicked them while he screamed and grunted.                       (Id. vol. 1, 148.)

    Jackson wrestled his arms free from the officers’ grasp and got

    up   again.        (Id.   vol.   1,   67–68.)        On    two    occasions,    Kelley

    administered pepper spray directly to Jackson’s face.                      (Id. vol.

                                             16 
     
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    2, 141-42.)                            Kelley and Lukowicz each struck Jackson’s legs with

    their batons on at least two occasions.                                              (Ex. 1 at 14-15; Ex. 2

    at 17.)

                  Jackson was brought to the ground a third time, and as

    Kelley                 and            Lukowicz                 secured   handcuffs    on   Jackson,     a    third

    officer, Officer Thomas Nye, arrived.                                                Thomas Nye held one of

    Jackson’s arms to enable him to be fully handcuffed.                                               (Trial Tr.

    vol. 8, 172-73.)                                          At that point, two more officers, Officers
                                         8
    Michael                   Nye               and            Marcus    Palazzo,   arrived;   a   total    of    five

    officers were in the back parking lot at Joyal’s around Jackson,

    who was handcuffed and kneeling.                                               (Id. vol. 1, 72-73; id. vol.

    9, 5-6, Nov. 14, 2011.)                                             Kelley and Lukowicz had minor injuries

    (e.g., scratches and abrasions) from the struggle.                                               (Id. vol. 1,

    160-61; id. vol. 2, 145.)

                  One witness, who overheard the altercation from her window,

    testified that Jackson on several occasions said to the officers

    “I love you guys” or words to that effect.                                                 (Id. vol. 2, 52.)

    Several officers also testified that Jackson said words to the

    effect of “I love you guys” during the altercation.                                                    (Id. vol.

    1, 73; id. vol. 4, 203-04; Ex. 1 at 17; Ex. 2 at 18.)

                  The officers pulled Jackson to his feet and attempted to

    walk him over to a patrol car, but Jackson would not or could
                                                                
                  8
           Because Officers Michael Nye and Thomas Nye share the same
    surname, the Court refers to them by their full names, as to
    foreclose the possibility of any confusion.
                                                                             17 
     
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    not stand up.         (Trial Tr. vol. 1, 73; id. vol. 4, 183; Ex. 1 at

    18; Ex. 2 at 19.)              Lukowicz and Kelley then physically placed

    him in the back of Lukowicz’s cruiser and laid him across the

    back seat.       (Trial Tr. vol. 4, 143-45; Ex. 1 at 18-19.)

            At trial, Dr. Pinals testified that Jackson’s resistance

    and     statements      to     the    officers     prior        to    and    during     the

    altercation were consistent with his normal limitations, lack of

    understanding, and consequent severe fright.                         (Trial Tr. vol. 5,

    31, 33-34, 37-39.)             Dr. Pinals has extensive experience with

    schizophrenic patients both in psychiatric hospitals and in the

    community       and     testified      that      individuals         such    as     Jackson

    sometimes become frightened and strongly resist restraint even

    by several persons in situations that they do not understand and

    with    which    they    are    unfamiliar.         (Id.    vol.      5,    5-6,    79-81.)

    Defendants offered no opposing expert testimony on this issue

    except the testimony of their expert, Charles Wetli, M.D., a

    forensic        pathologist,         who   suggested        that        Jackson       acted

    abnormally during the altercation but acknowledged that he was

    not qualified to opine whether this behavior was consistent with

    Jackson’s normal limitations and level of functioning under the

    stress of the situation.               (Id. vol. 7, 175-77, 179-183.)                   The

    Court    accepts      Dr.    Pinals’s      testimony       on   this       issue.      From

    Jackson’s perspective, he was alone, quietly smoking in a very

    familiar and customary location next to his mother’s apartment

                                               18 
     
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    at 11:00 p.m. when two patrol cars pulled into the parking lot

    with their headlights and a spotlight on him, and two uniformed

    and armed police officers walked toward him.                                                       That situation was

    inherently                           frightening                      for     an     individual      with      Jackson’s

    limitations.

                  D.             The Trip to the Police Station

                  Lukowicz and the other officers departed from the parking

    lot at Joyal’s to drive to the stationhouse of the West Warwick

    Police Department.                                             Lukowicz’s vehicle contained only Lukowicz

    and Jackson.                             (Id. vol. 1, 73, 157; id. vol. 2, 112.)

                  Chief                Silva                testified           at     trial   that,    since      at    least

    December 2006 and perhaps as early as 2000, the West Warwick

    Police Department provided literature to its officers directing

    them to be vigilant for four categories of warning signs that

    indicate that suspects may be at risk for sudden, in-custody

    death. 9                    (Id. vol. 8, 145-46, 148-49; Ex. 15.)                                        Each of these

    four categories of indicators was present during the officers’

    altercation                            with               Jackson.               (Trial    Tr.   vol.     8,    150-51.)

    Moreover,                       since               2001,         a    written      general      order   of    the       West

    Warwick                    Police                  Department               also    instructed      officers        to     be


                                                                
                  9
           The four categories of warning signs are: (1) bizarre
    behaviors; (2) bizarre communications; (3) physical symptoms
    including hyperthermia, profuse sweating, seizures, foaming at
    the mouth, dilated pupils, uncontrollable shaking, inability to
    breath, and extraordinary strength; and (4) several officers are
    required during the encounter. (Ex. 15.)
                                                                                 19 
     
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    vigilant that individuals who had been pepper sprayed were at

    risk of positional asphyxia and, if possible, to transport them

    in an upright position to reduce that risk.                    (Id. vol. 4, 171-

    73; Ex. 4f.)         Transporting officers were trained that, if the

    prisoner was not upright, they were required to monitor him to

    make    sure    that    he    was    still      breathing     and     did   not      lose

    consciousness.        (Trial Tr. vol. 4, 178-79.)

           The    trip   from    the    parking     lot   at    Joyal’s    to    the     West

    Warwick Police Station is less than one mile, and it took the

    officers about one minute.              (Id. vol. 1, 158; id. vol. 2, 112;

    id.    vol.    8,    176.)      When    Jackson       was   initially       placed    in

    Lukowicz’s     back    seat    and     Lukowicz    started     the    drive    to    the

    station, Lukowicz heard noises from the back seat, indicating

    that Jackson was moving around and making sounds.                      (Id. vol. 2,

    113.)    When they were approximately halfway up Brookside Avenue,

    however, all sound from the back seat ceased.                   (Id. vol. 2, 146;

    id. vol. 4, 155.)            Although Lukowicz acknowledged that Jackson

    had stopped making any noise, he did not notice that Jackson had

    become unresponsive during the ride to the police station.                          (Id.

    vol. 4, 143.)        Lukowicz could not see Jackson because of the way

    he had been placed in the back seat.               (Id. vol. 4, 143-44.)

           The Court accepts the opinion of Plaintiff’s expert, Kevin

    Brown, M.D., a Board-certified emergency medicine doctor, with

    which Defendants’ expert Dr. Wetli agreed, that Jackson probably

                                              20 
     
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    stopped breathing en route to the station, based on Lukowicz’s

    testimony as to when all sounds of movement or other noises

    stopped while he was transporting Jackson.                                    (Id. vol. 4, 93; id.

    vol. 7, 73-74.)                                       Given the testimony of the officers that the

    trip at that time of night took them approximately one minute,

    the Court finds that Jackson suffered a sudden cardiac arrest

    thirty seconds prior to his arrival at the station.

                  While they were en route to the station, Kelley radioed

    ahead and told the dispatcher to notify the officer in command

    that he was returning to the station with a “very large EDP,”

    meaning emotionally disturbed person, and to ask the officer in

    command to meet them downstairs at the station. 10                                    (Id. vol. 2,

    118; Ex. 8b at 5.)

                  E.             The Back Lot

                  When Lukowicz arrived at the police station, he exited his

    patrol car without checking on Jackson in the back seat.                                     (Trial

    Tr. vol. 4, 130; Ex. 1 at 21.)                                     The WWPD standing orders at that
                                                                
                  10
            Kelley testified that, to his knowledge, “EDP” means
    “emotionally depressed person.”      (Trial Tr. vol. 2, 42-44
    (emphasis added).)     However, Kelley’s fellow officers all
    understand “EDP” to mean “emotionally disturbed person,” and it
    is clear to the Court that that is what it is commonly
    understood to denote. (See id. vol. 2, 118-19; id. vol. 4, 164;
    id. vol. 8, 167.) Kelley’s misstatement is revealing in that it
    may reflect a lack of real understanding as to the risks
    attendant to an EDP, a topic he and other officers were trained
    about in their academy. (See id. vol. 2, 45, 118; id. vol. 4,
    203.) As more thoroughly discussed below, this apparent lack of
    awareness and understanding is arguably at the heart of the
    officers’ misguided decision making.
                                                                      21 
     
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    time required the officer in command at the station, together

    with             the           arresting                        officer,       to    assess       the     condition        of   an

    intoxicated or mentally impaired arrestee upon arrival at the

    station.                         (Ex.             4e           at     3.)      Sergeant      Scott       Thornton     was       the

    officer in command at the station that night.                                                              (Ex. 85 at 10.)

    Thornton                    testified                          that    he     did    not    assess       Jackson     upon       his

    arrival at the station.                                                (Id. at 23-24, 39.)                Instead, Thornton

    waited                 at          the            stationhouse                door     and       initially     relied       upon

    Kelley’s description of Jackson as “completely out of control.”

    (Ex. 3 at 6.)                                        Thornton testified that he did not evaluate

    Jackson immediately because he was not aware at the time of this

    general                   order,                 though               he    acknowledged         that     he   had    read       it

    before.                    (Ex. 85 at 34, 38, 43-44.)                                      Thornton had been promoted

    from             patrolman                        to           sergeant       about        one    month     prior     to    this

    incident and had been acting in that supervisory capacity for

    approximately two weeks.                                                    (Id. at 30-31.)              As members of the

    WWPD, the officers were required to be familiar with and follow

    all general orders.                                            (Ex. 4c.)

                  The arrival of Kelley and Lukowicz at the WWPD stationhouse

    is depicted in a video that was recorded by a camera posted on

    the           back             door             of         the        stationhouse;         the    camera      is    routinely
                                                                                  11
    recording.                                (See                 Ex.    12.)            The        video    is   critical          to


                                                                
                  11
           For ease of reading, the Court refers to the “time after
    arrival” throughout this decision.   The Court finds that the
                                                                                   22 
     
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    establishing many of the facts concerning what occurred outside

    of the stationhouse that night.

                  The             video                depicts                    Kelley,                     six            seconds                    after                 arrival

    (00:06), getting out of his patrol car and glancing in the rear,

    passenger-side window of Lukowicz’s vehicle.                                                                                             (Trial Tr. vol. 1,

    88-90, 197; Ex. 12.)                                                  Kelley testified at trial, and informed

    the State Police shortly after Jackson’s death in the early

    morning hours of June 28, 2008, that when he looked through the

    window, he observed that Jackson was not moving or making any

    noise.                  (Trial Tr. vol. 1, 88-90, 195-98; id. vol. 2, 12; Ex. 2

    at 23.)                      He testified that Jackson appeared to be unconscious.

    (Trial Tr. vol. 1, 90.)                                                     However, Kelley did not open the doors

    to the patrol car to assess Jackson.                                                                             (Ex. 12.)                        Instead, Kelley

    and Lukowicz went into the stationhouse to secure their service

    weapons.                      (Ex. 1 at 21-22; Ex. 2 at 24.)                                                                    Kelley testified that

    they put their weapons away because Jackson was “so combative on

    scene.”                     (Trial Tr. vol. 1, 165.)                                                            At the time, the standing

    orders of the West Warwick Police Department required officers

    to secure their firearms in the locked box inside the station

    prior to removing combative prisoners from their vehicles.                                                                                                                         (Ex.

    4e.)                Officer Lukowicz testified that he secured his firearm
                                                                                                                                                                                                    
    patrol cars arrived in the back parking lot at 23:10:30 on the
    back lot video timer, which the Court pins to the time of 0:00
    from arrival.    The video recording that was admitted into
    evidence at trial also has a time stamp reflecting the “time
    after arrival.” (See Ex. 12.)
                                                                                                23 
     
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    inside    the    station       before    attending        to    Jackson      due     to    this

    policy.       (Trial Tr. vol. 4, 138-39.)

            The   officers     then    returned        to    the     vehicle,         with    other

    officers accompanying them, at 00:44 after arrival.                                (Ex. 12.)

    At    approximately       00:53    after    arrival,        Thomas         Nye    opened    the

    rear, driver-side door and Kelley opened the rear, passenger-

    side door of the vehicle transporting Jackson.                              (Ex. 1 at 22;

    Ex. 2 at 25; Ex. 12.)             Thomas Nye ordered Jackson to get up, to

    which    there     was    no     response,        at    approximately            00:56    after

    arrival.      (Trial Tr. vol. 8, 191; Ex. 12.)

            On the video, the officers appear to be further assessing

    Jackson from 01:00 to 01:11.                (Ex. 12.)           When they opened the

    door, Kelley and Thomas Nye leaned into the back seat, while

    Lukowicz       leaned     into     the     driver’s        seat       to     retrieve       his

    flashlight.       (Trial Tr. vol. 2, 151.)

            Lukowicz used his flashlight to check on Jackson at 01:20

    after arrival.           (Ex. 12.)       Between 01:27 and 01:43, the video

    depicts officers leaning into the patrol car from either side of

    the    vehicle.         (Ex.   12.)      Kelley         shook    Jackson’s         legs,    and

    Lukowicz shook Jackson’s head and shoulders.                          (Trial Tr. vol. 1,

    105; Ex. 1 at 22; Ex. 2 at 25.)                          They both called out to

    Jackson.      (Trial Tr. vol. 1, 105; Ex. 2 at 25.)

            At trial and during his formal questioning by the Rhode

    Island    State     Police       immediately       after        the    incident,         Kelley

                                                24 
     
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    stated that when they determined that Jackson was unresponsive

    in the back seat of Lukowicz’s patrol car, he saw Lukowicz check

    Jackson’s neck for a pulse and Lukowicz informed Kelley there

    was no pulse.           (Id. vol. 1, 105-07; Ex. 2 at 25.)                       At trial,

    Lukowicz did not recall whether he checked Jackson’s pulse at

    this time.      (Trial Tr. vol. 2, 125.)                 The Court credits Kelley’s

    statement to the Rhode Island State Police.

          The parties dispute when the officers first contacted the

    police department dispatcher to request rescue, and when the

    fire department dispatcher, in turn, contacted fire department

    personnel.        There are timed audio recordings of the exchanges

    between     the      police         officers       and       the     police     department

    dispatcher,       and     a     separate     timed       audio       recording     of    the

    exchanges      between        the    fire    department            dispatcher    and    fire

    department personnel.               (See Ex. U; Ex. V.)                The video of the

    back lot, as discussed above, also has a timer.                               However, the

    timers    on      these        three    recordings            are    not   synchronized.

    Moreover,      the   WWPD      dispatcher      has       a    dedicated    line    to   the

    dispatcher for the West Warwick Fire Department (“WWFD”) that is

    not   recorded       by   either       the   police          department    or    the    fire

    department.       (Trial Tr. vol. 9, 48.)                    Accordingly, there is no

    recording,     timed      or    otherwise,         of   the    exchanges      between    the

    police department dispatcher and the fire department dispatcher.



                                                 25 
     
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           The parties stipulated that the police dispatcher contacted

    the fire dispatcher immediately after the officers attending to

    Jackson       contacted        the    dispatcher          and     informed       the     fire

    dispatcher of what the officers at the scene were reporting.

    (See   Stipulation,         Dec.      1,   2011,       ECF     No.    137.)       The    fire

    dispatcher         testified     that      his       custom     and    practice    was     to

    immediately dispatch calls and that he was not aware of anything

    that interfered with that here.                        (Trial Tr. vol. 9, 82-84.)

    However, as the synchronized times demonstrate (and irrespective

    of   the     parties’      stipulation),         the    Court    has    determined       that

    there was a lag by one or both of the dispatchers in relaying

    the pertinent information.

           After considering all of the testimony on the subject and

    scrutinizing Plaintiff’s and Defendants’ proposed chronologies,

    the Court concludes that the video and the two audio recordings

    must be synchronized as follows and finds the following facts

    with   respect       to    the     timing      of      events    as    revealed    by     the

    recordings.          The    reader     may     be     guided    by    referring     to    the

    appendix      at    the    end   of     this     decision,       which    sets     forth    a

    timeline of selected key events.

           The     video       depicts         Officer        Kelley       beginning        chest

    compressions on Jackson at 23:14:50 on the video timer, which is

    04:20 after the officers arrived at the station with Jackson.

    (Ex. 12.)      Officer Kelley performed chest compressions for three

                                                   26 
     
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                                                                                                      12
    seconds, at which point WWFD Private Cahoon                                                            appears on the

    video screen, checking Jackson’s pulse at 23:14:54, which is

    04:24 after arrival.                                            (Trial Tr. vol. 6, 172; Ex. 12.)               Private

    Cahoon and Lieutenant Croft both testified that when they saw

    the officer doing chest compressions, Cahoon called the fire

    department dispatcher and said “Engine 1 to rescue.                                                         It appears

    to be a code.”                                          (Trial Tr. vol. 6, 190; id. vol. 9, 101.)

    Cahoon’s                      call               is            recorded      on    the    fire    department     audio

    recordings as occurring from 1:54 to 1:57 on the fire department

    audio timer.                                  (Ex. V.)                 Based on this testimony, the visual

    depiction of Kelley performing chest compressions (23:14:50 to

    23:14:53 on the video timer) and the audio recording of Cahoon

    telling rescue dispatch that it appeared to be a code (1:54 to

    1:57                 on               the              fire         department           audio     timer)     occurred

    simultaneously, between 04:20 and 04:23 after arrival.                                                            This

    serves                as          a       common               point    of    reference      to   correlate    earlier

    events depicted on the video with events recorded on the audio

    of the fire department dispatcher.

                  The events on the video can also be correlated to the audio

    recording of the West Warwick Police Department dispatch calls

    that evening.                                   On the video, it is clear that Palazzo speaks


                                                                
                  12
            WWFD Private Cahoon and Lieutenant Croft responded to
    this call on foot because the fire station and the police
    station are part of one large facility with the West Warwick
    Town Hall standing between the two. (Trial Tr. vol. 5, 117.)
                                                                                 27 
     
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    into             the           radio                on         his    lapel     at    02:22     after    arrival.       As

    explained below, the only conclusion consistent with both the

    substance                      of          the           calls       and     the     testimony    at     trial   is    that

    Palazzo was in the midst of the second call he made to the

    police dispatcher about Jackson, which occurred at 23:14:53 on

    the WWPD audio timer.

                  Palazzo testified that he made the initial call for rescue

    on Thornton’s order.                                            (Trial Tr. vol. 4, 179-80.)                 Palazzo and

    Thornton                    were             standing                inside    the    stationhouse        near   the   gun

    lockers when Thornton told Palazzo to call the dispatcher and

    have rescue respond to the back lot.                                                   (Id. vol. 4, 186; Ex. 3 at

    7-8; Ex. 85 at 46.)                                            The amount of time that elapsed between the

    time Jackson arrived at the West Warwick Police Station and the

    time that Palazzo first called the police dispatcher requesting

    medical                    assistance                          was     one     minute     and     fourteen       seconds.

    Palazzo’s first transmission was “seventy-five to headquarters.”

    Palazzo next asked the police department dispatcher, “Can you

    start another rescue downstairs for this male?”                                                         (Ex. 8b at 6.) 13

    Over the next seventeen seconds, the police dispatcher contacted

    the fire department dispatcher with this information, the fire

    department dispatcher asked the police dispatcher for the reason


                                                                
                  13
            The reference to “another” rescue was because the police
    had asked rescue to send an ambulance for another person, who
    was intoxicated, shortly before calling rescue for Jackson.
    (Trial Tr. vol. 5, 125.)
                                                                                  28 
     
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    rescue                 was           needed,                   and    the    police     dispatcher       conveyed    that

    inquiry to Palazzo.                                            (Id.)        Palazzo responded: “Possible . . .
                                                                                                                              14
    minor                injuries                      and          intoxicated          male,     unconscious       male.”

    (Trial                 Tr.            vol.              4,      187.)            Palazzo     was   still   inside       the

    stationhouse during this transmission.                                                       (Id. vol. 4, 188.)         The

    entire                 call             between                 Palazzo      and     the     police   dispatcher     took

    thirty-four seconds.                                           (Ex. U.)

                  The fire dispatcher and engine company personnel testified

    that            a       call             to         respond           to    an     intoxicated     and   passed-out       or

    unconscious individual behind the police station was a routine

    call, which would require no particular urgency, in response to

    which an ambulance would transport the individual to the local

    hospital for detoxification.                                                 (Trial Tr. vol. 5, 125; id. vol.

    9, 66-67, 76.)                                    Captain Alfred Peterson, a member of the North

    Providence Fire Department and Plaintiff’s expert, agreed that

    from             the           point                of         view    of    rescue     personnel,       there    was     no

    difference between being told that a subject was intoxicated and

    unconscious and being told that he was intoxicated and passed-

    out.                (Id. vol. 8, 69-70.)                                     Accordingly, the initial dispatch

    from the fire dispatcher was directed solely to rescue (the

    ambulance), which was out on another call at the time.                                                               (Id.

    vol. 6, 160.)
                                                                
                  14
            At trial, Kelley and Palazzo denied that Jackson smelled
    of alcohol. (Trial Tr. vol. 2, 7; id. vol. 4, 204.) Lab work
    on autopsy showed no alcohol in his system. (Ex. 5.)
                                                                                 29 
     
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                  Back outside in the back lot of the station, at 01:51 after

    arrival, Thornton ordered Jackson’s removal from the vehicle.

    (Ex. 12.)                         It took the officers eight seconds to remove Jackson

    from the cruiser (from 01:55 to 02:03 after arrival), and he was

    placed on the ground, initially in a sitting position leaning

    against the patrol car.                                              (Id.)       From the first moment he is

    visible                    on           the              video,      it    is     obvious   that    Jackson   was

    unconscious.                             (Id.)

                  Palazzo walked outside after his initial transmissions and

    arrived just as the other officers were pulling Jackson from the

    rear of the vehicle.                                            (Trial Tr. vol. 4, 188.)        Palazzo appears

    on the video screen at approximately 01:46 after arrival and

    shortly                   thereafter                           assists    the    other   officers   in   removing

    Jackson from the cruiser.                                            (Ex. 12.)      As noted above, the video

    depicts Palazzo speaking into the radio clipped to his collar

    lapel 02:22 after arrival.                                               (Id.)    Palazzo testified that this

    depicts him contacting the police dispatcher concerning Jackson.

    (Trial Tr. vol. 4, 181-82.)15


                                                                
                  15
              The Court rejects Plaintiff’s proffered sequence of
    events, which has Palazzo saying, “Possible . . . minor injuries
    and intoxicated male, unconscious male” at 02:22. If this were
    true, then, once the three recordings are synchronized, under
    Plaintiff’s theory, the fire dispatcher would have expedited
    rescue at 02:55 after arrival, which was before the time at
    which Plaintiff contends that Palazzo told the police dispatcher
    that rescue needed to “step it up,” at 03:03. Plaintiff ignores
    this anachronism, urging that it is not plausible that the
    police and fire dispatchers took so long to relay their
                                                                               30 
     
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                  Palazzo radioed to dispatch:                                                                    “Seventy-five can you have

    rescue step it up.”                                              (Id. vol. 4, 191.)                                            This call occurred at

    02:22               after               arrival,                     or         approximately                               one           minute                 and            eight

    seconds after Palazzo’s initial call to rescue.                                                                                                               It was not

    until then that the fire department engine company personnel,

    who were in the fire station, had reason to think that there was

    a        potentially                            life-threatening                                      emergency                         occurring                        in           the

    parking lot behind the West Warwick Police Station.                                                                                                                (Id. vol.

    5, 129-30; id. vol. 6, 162.)

                  The             video                further                    depicts                     Kelley                  attempting                          to           take

    Jackson’s pulse at 02:32 after arrival; the officers rolling

    Jackson                  onto             his           side             at         03:16               after               arrival;                     the           officers

    removing Jackson’s handcuffs at 03:21 after arrival; and the

    officers                     again                rolling                    Jackson                    onto              his            back              03:48                after

    arrival.                     (Ex. 12.)



                                                                                                                                                                                                    
    messages. However, the audio tapes demonstrate that there must
    have been such a delay in dispatch; the fire dispatcher’s
    initial transmission occurred at approximately 02:39 after
    arrival, whereas his second transmission, directing rescue to
    expedite, occurred only sixteen seconds later, at 02:55. In the
    interim, the ringing of a telephone can be heard in the
    background of the recording (at 02:44 after arrival), which is,
    presumably, the police dispatcher calling on the dedicated line
    between the two dispatchers.      Compare Palazzo’s request for
    rescue, which began at 01:19 (“Can you start another rescue
    downstairs for this male [?]”), and his request to “step it up”
    one minute and three seconds later, at 02:22 after arrival. The
    only thing that could possibly account for the disparity in the
    time between transmissions is a delay in dispatching by either
    the police or fire department dispatcher or, perhaps, both.
                                                                                                31 
     
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          The     video      lacks    audio       recording.          However,      it    clearly

    depicts      Kelley,     Lukowicz,      Thornton,        Palazzo,       Thomas       Nye,    and

    Michael      Nye      speaking    among       themselves     as     they    circle     around

    Jackson or stand over him.                    (Ex. 12.)      In addition, the video

    depicts that, at one point (03:48 after arrival), Michael Nye

    appears     on     screen   holding       a    barrier      mask,    which      is    used    in

    giving mouth-to-mouth resuscitation.                        (Trial Tr. vol. 4, 189;

    Ex.   12.)         During   the    next       thirty-two     seconds       on   the    video,

    Michael Nye holds the mask, then squats down next to Jackson

    with the mask in hand, and then stands up and walks around,

    before Kelley starts chest compressions.                       (Ex. 12.)        Michael Nye

    testified that he was waiting for instruction.                             (Trial Tr. vol.

    9, 20.)

          Both from what is depicted on the video and from common

    understanding of such urgent circumstances, it is obvious that

    Defendants and the other officers were discussing whether to

    perform cardiopulmonary resuscitation (“CPR”) over the seconds

    and minutes leading up to Kelley’s perfunctory administration of

    chest compressions just as he saw rescue arrive.                              Nevertheless,

    Kelley,      Lukowicz,      Palazzo,      Michael       Nye,      and   Thomas       Nye     all

    testified        at    trial     that     that       they    could      not     recall       any

    discussion, comments, or statements by anyone regarding when or

    whether CPR should be performed or by whom, up until the moment

    immediately before Kelley actually started CPR.                               (Id. vol. 2,

                                                   32 
     
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    21-22; id. vol. 4, 197; id. vol. 8, 202-04; id. vol. 9, 39.)

    Thornton                    did           testify              that,   “obviously,      we’re   talking   amongst

    ourselves while we’re trying to get Mark Jackson out of the

    vehicle.”                       (Ex. 85 at 20.)

                  The Court finds this collective lack of recollection not

    credible and that it reflects a probable “code of silence” as to

    what the officers were discussing. 16                                             These Defendants and their

    fellow officers had little difficulty recalling other events and

    statements that tended to support Defendants’ position.                                                   Failing

    to         recall                  even              the       general   nature    of    any    conversation     or

    discussion (let alone the specifics) regarding CPR where the

    video clearly shows they were talking and exchanging a barrier

    mask, under circumstances that begged for a discussion of that

    topic, is simply not believable.                                                 These officers’ collective

    failure to recall the conversations that were obviously taking

    place                on           this               subject       supports      the    inference    that      such

    discussions                          would                have   shown    that    Defendants     were,    at   that

    point, considering whether they should administer CPR.

                  At approximately 04:20 after arrival at the station, Kelley

    made the first attempt by any officer to perform CPR on Jackson.


                                                                
                  16
            This Court has listened to dozens, if not hundreds, of
    law enforcement officers give detailed testimony recalling
    conversations in the context of civil and criminal proceedings.
    This is the first time in the Court’s experience that virtually
    every officer has a complete and total lack of recall of a
    critical conversation that lasted over several minutes.
                                                                             33 
     
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    (Ex. 12.)         That attempt consisted of five or six quick chest

    compressions over a period of approximately three seconds, at

    which point fire department personnel took over.                    (Id.)      Kelley

    saw the fire department personnel arriving before he started

    chest compressions.        (Trial Tr. vol. 1, 176.)               It appears from

    the timing of Kelley’s action, and the Court so finds, that

    Kelley was motivated to perform CPR by guilty recognition that

    he, or one of the other officers, should be seen performing CPR

    when fire department personnel arrived.

            WWFD   firefighters     Lieutenant      Croft       and   Private      Cahoon

    arrived on scene 04:20 after arrival; because of the angle of

    the camera, however, Private Cahoon does not appear on the video

    until     04:24    after   arrival.      (Id.        vol.    9,   101;   Ex.     12.)

    Lieutenant      Croft    took   over   chest    compressions,        and    Private

    Cahoon set up an automatic external defibrillator (“AED”), which

    was activated at 05:28 after Jackson’s arrival at the station.

    (Trial Tr. vol. 9, 97; Ex. 12.)              The engine company was on the

    scene with the AED approximately two minutes after Palazzo’s

    call to expedite and activated the AED within another minute.

    At that point, however, the device registered that Jackson’s

    heart had no shockable rhythm, meaning that his heart rhythm was

    asystole.      (Trial Tr. vol. 5, 132; id. vol. 6, 163; Ex. 12.)

            Jackson    was   transported    to     the    hospital     by    ambulance.

    During the trip, the paramedics attempted to resuscitate him.

                                           34 
     
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    (Ex. 88.)                          Their efforts briefly took his heart from asystole

    into ventricular fibrillation, but the AED could not shock his

    heart               into             normal                    rhythm,    and     he    quickly       lapsed       back   into

    asystole.                              (Ex.               88.)           Jackson       arrived     at    the        emergency

    department at 11:41 p.m., according to hospital records; this

    was approximately thirty minutes after Jackson and the officers

    arrived by car in the back lot.                                                        (Ex. 89.)        Records further

    reflect that Jackson was pronounced dead at the hospital at

    11:44 p.m.                            (Id.)                    His death certificate states 11:44 p.m. as

    the “hour of death.”                                            (Ex. 87.)

                  For the benefit of the discussion and analysis found infra

    at Part II (Conclusions of Law), the Court makes the following

    findings                     regarding                         what     reasonable       officers       in     Thornton’s,

    Lukowicz’s,                           and            Kelley’s            positions       would    have       done    in   the

    circumstances                               presented,                  correlated       to     the     timing      sequence

    depicted above.

                  The           Court               finds            that     reasonable       officers      in    Kelley     and

    Lukowicz’s position would have hurriedly secured their guns 17 in

    the            stationhouse;                                   returned    to      Lukowicz’s         patrol       car    with

    Thornton;                        and             assessed               Jackson        within    01:00        of    arrival.
                                                                
                  17
            Of course, every situation is different, and one could
    reasonably argue that in this situation the officers would have
    been reasonable in disregarding the general order to secure
    their weapons having observed Jackson in distress and knowing
    his high risk status.     On this point, the Court gives the
    benefit of the doubt to the officers, however, as qualified
    immunity so dictates.
                                                                                35 
     
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    Moreover, within this same time period, a reasonable officer in

    Thornton’s position would have approached Jackson and assessed

    him independently, not merely relied upon the other officers’

    representations. 18                                        The video confirms that this is more than a

    reasonable amount of time to accomplish these tasks, although

    (as the video further confirms) these actions ideally would have

    occurred even more quickly in light of the gravity of Jackson’s

    situation and the knowledge the officers had about Jackson’s

    high risk for cardiac arrest.                                               Within about fourteen seconds of

    that time, and corresponding to Palazzo’s first call to rescue

    at 01:14 after arrival, reasonable officers trained in CPR would

    have            called                 rescue                  with   a   message   to   respond   expeditiously,

    because they had a detainee who was blue and pulseless, and they

    would have begun taking steps to remove Jackson from the vehicle

    in order to perform CPR themselves.                                                 Within the seconds leading

    up to 01:14, Thornton, if he was acting like a reasonable and
                                                                
                  18
             WWPD General Order GO 97-24, in place at the time of
    these events, provides that, “upon arrival at headquarters, the
    OIC [officer in command] will assess the persons [sic] condition
    in conjunction with the arresting officer.” (Ex. 4e at 3.) The
    general order further directs the arresting officer to secure
    his or her duty weapon prior to removing the arrestee from the
    police vehicle.    (Id.)  Once the arrestee is removed from the
    vehicle, the officers are charged with assessing the arrestee’s
    mental capacity. (Id.)
          The Court does not suggest that the fact that this general
    order    was  in   place  automatically   triggers  a  duty   of
    constitutional dimension on behalf of the officers to follow the
    order. However, this general order does provide the Court with
    some guidance as to how reasonable officers would behave when
    found in circumstances addressed by the order.
                                                                               36 
     
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    competent officer, would have both ordered an officer to start

    CPR (or prepared to administer it himself) and called rescue to

    convey the seriousness of the situation.                                                   With respect to the

    call to rescue, Palazzo did make his first call to rescue at

    01:14, on Thornton’s order; however, the failure of Thornton,

    Lukowicz,                         and             Kelley          to    competently        assess      Jackson   and

    communicate to Palazzo the gravity of the situation prevented

    Palazzo from communicating to rescue at 01:14 that Jackson was

    not breathing and unconscious, but that this was not due to

    intoxication.

                  From             there,                 reasonable        officers    would       have   ensured   that

    Jackson was out of the car and CPR was started by 01:45.                                                     On the

    video, it is clear that thirty seconds is a reasonable amount of
                                                                                               19
    time             in         which               this           could   have    occurred.          This   reasonable

    timeline eliminates the twenty seconds of inaction the officers

    wasted before removing Jackson from the patrol car.

                  To this, Defendants argue that

                  [t]he evidence adduced at trial shows that Defendants,
                  while still unaware that Mr. Jackson was under any
                  sort of distress, summoned medical aid.           Once
                  Defendants became aware that Mr. Jackson’s condition
                  was serious, they instantly took steps to expedite
                  medical assistance.   And when they realized that Mr.
                                                                
                  19
             This is generous to the officers.    The video reflects
    that it took the officers about twelve seconds to remove Jackson
    from the patrol car.     While they also removed his handcuffs,
    this was clearly pointless, because the video reveals that
    Jackson’s hands remained under the trunk of his body for the
    duration of the administration of CPR.
                                                                             37 
     
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            Jackson’s       condition was perilous, they themselves
            rendered,       first-hand, what medical treatment they
            could.

    (Defs.’ Post Trial Mem. 56-57, ECF No. 152.)                             But the video

    speaks for itself and belies this generous rendition.                           The video

    reflects that over the four minutes and twenty seconds that

    Jackson was unconscious, appeared blue, and was without a pulse

    in    the    rear     parking    lot    of   the    West   Warwick      Police    Station

    before rescue arrived, Kelley, Lukowicz, and the other officers

    on scene acted without urgency or focus.                         (Ex. 12.)       Although

    they took various actions such as removing Jackson from the

    cruiser, eventually placing Jackson on his back, later turning

    him over to remove his handcuffs, and turning him again onto his

    back, none of these actions addressed Jackson’s fundamental, and

    obvious, need for CPR and AED.

            As discussed in more detail below, see infra Part II.E.3.a,

    had    these    officers        acted   reasonably,        CPR   would    have    started

    01:45 after arrival (or 02:15 after Jackson suffered cardiac

    arrest); this accounts for a proper call to rescue at 01:14 to

    respond expeditiously and the application of the AED at 04:20

    after       arrival    (or   04:50      after      he   suffered      cardiac    arrest).

    Moreover,      the     evidence    adduced         at   trial,   as    outlined    below,

    demonstrates that it is more likely than not that Jackson’s life

    would have been prolonged if he had received a shock from the

    AED at 04:20 after arrival.

                                                 38 
     
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           F.      CPR Training

           Kelley,     Lukowicz,      and     Thornton         were     each   trained      and

    certified at the Rhode Island Municipal Police Academy in first

    aid, including CPR, under the HeartSaver Program of the American

    Heart Association, and they were recertified six months prior to

    the incident, in December 2007.                   (Trial Tr. vol. 1, 78-80; id.

    vol.    2,   120-21;    Exs.     13,     14,   20,     23,    24,    25,   27.)      Their

    training taught them how to promptly assess an individual to

    determine if that individual needed CPR and the necessity of and

    technique for promptly beginning CPR if CPR was needed.                            (Trial

    Tr. vol. 1, 86-87; id. vol. 2, 10, 122-23, 128; id. vol. 4, 141-

    42,    154.)      The     General       Orders    of    the       West   Warwick   Police

    Department      state    that,    “[t]he       West    Warwick       Police   Department

    recognizes       the    fact     that    when     CPR      and     defibrillation       are

    administered to a person who had been stricken with cardiac

    arrest during the early stages of the attack, the survival rate

    of the victim greatly increases.”                  (Ex. 4g at 1.)          Accordingly,

    WWPD’s written policy was “to train its police officers in CPR

    and the proper use of AEDs . . . .”                   (Id.)

           The Department did not have AED equipment on June 27, 2008,

    and there were no defibrillators in the cruisers used by the

    officers     involved.         (Trial      Tr.    vol.       1,    175-76.)       Lukowicz

    acknowledged at trial that he and Kelley, at all times, had the

    right   to     commence    CPR    on     Jackson      if   they     felt   that    it   was

                                                39 
     
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    necessary,     notwithstanding         that        the    officer        in     command,

    Thornton,     was    present     at   the      scene.          (Id.   vol.     4,   209.)

    Moreover, both Kelley and Lukowicz admitted that they understood

    that they were obligated to provide CPR if Jackson needed it.

    (Trial Tr. vol. 1, 121; id. vol. 2, 129-30.)                      They acknowledged

    that CPR should be started as soon as possible once it is clear

    that a person in custody needs it.                 (Id. vol. 1, 87; id. vol. 4,

    141-42.)     Lukowicz also testified, at his deposition and again

    at trial when he was called as an adverse witness, that there

    was “no reason” why he did not perform CPR on Jackson.                                (Id.

    vol. 2, 130.)        In response to his counsel’s question on cross-

    examination at trial, however, Lukowicz inconsistently testified

    that he did not commence CPR because he knew that rescue had

    been called.        (Id. vol. 4, 130.)         But, he also testified that he

    did not know who called rescue or when rescue was called.                             (Id.

    vol. 4, 142.)

           At   trial,    Kelley   testified        that     the    reason    he    did    not

    perform CPR prior to when he did was that he feared Jackson was

    feigning unconsciousness and was still combative, he was not

    sure if it was needed, and he believed it would not take rescue

    long   to   arrive     because    they      were    nearby       (approximately        one

    hundred feet away).        (Id. vol. 1, 121, 170-74, 206.)                      This is

    inconsistent with Kelley’s trial testimony that he and Lukowicz

    had determined that Jackson was unresponsive and pulseless in

                                             40 
     
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    the back seat of the patrol car.             (Id. vol. 1, 105.)      Kelley

    acknowledged that he knew the absence of a pulse meant the heart

    was not circulating blood.       (Id. vol. 2, 45.)        Moreover, in his

    formal questioning by the State Police immediately after the

    incident, Kelley stated that, upon the determination in the back

    seat that Jackson was unresponsive and pulseless, Jackson was

    promptly removed from the vehicle, his handcuffs were taken off,

    and CPR was started. (Ex. 2 at 25-26.)            During that interview,

    Kelley   did   not   mention   any   delay   or   fear   that   Jackson   was

    feigning unconsciousness.      (See generally id.)

         It was only after Kelley viewed the video, which shows a

    substantial delay in starting CPR, that he sought to explain

    this delay by contending it was due to fear that Jackson was

    feigning unconsciousness.       The Court rejects Kelley’s claim that

    he believed Jackson was feigning and was still combative even

    after he and Lukowicz determined that Jackson was unresponsive

    and pulseless in the back seat of the cruiser.            Accordingly, the

    Court rejects Kelley’s trial testimony explaining why he delayed

    in performing CPR.




                                         41 
     
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            G.     The Cause of Jackson’s Death

                   1.        Excited Delirium

            Defendants contend that Jackson died from “excited delirium

    syndrome,” rather than from sudden cardiac arrest due to primary

    cardiac disease.               Plaintiff’s experts, Peter Gillespie, M.D.,

    the Assistant Medical Examiner who performed the autopsy and

    issued       the    initial        Autopsy    Report        and   Death        Certificate     for

    Jackson, and Dr. Brown both testified that the cause of death

    was sudden cardiac arrest due to primary cardiac disease, not

    excited delirium syndrome.                    This dispute goes directly to the

    issue    of     whether        the      officers’      failure         to     render   emergency

    assistance          in    a    timely       fashion     was       a    proximate       cause     of

    Jackson’s death.

            Excited      delirium           syndrome      has    at       least    two     diagnostic

    criteria:          a high level of agitation and delirium consisting of

    an altered state of consciousness.                          (Trial Tr. vol. 6, 57; id.

    vol. 7, 172-73.)                   Dr. Pinals testified that excited delirium

    syndrome       involves            an     altered     state       of        consciousness        and

    agitation over a period ranging from hours to days, which, in

    this    case,       would      necessarily      precede          the    involvement       of   the

    police.       (Id. vol. 5, 29.)               Jackson, although clearly agitated

    during the altercation with the police, was not agitated before

    they    arrived.              To    the    contrary,        he    was       merely     smoking    a

    cigarette in accordance with his usual routine on a day when he

                                                    42 
     
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    appeared to be functioning within his normal limits.                              Jackson

    also did not have an altered state of consciousness before the

    altercation with police.            Moreover, once the altercation began,

    Jackson started walking away from the police toward his mother’s

    apartment, indicating that he was oriented to time and space.

    (Id. vol. 7, 179.)           He questioned Lukowicz and Kelley “why are

    you guys doing this to me,” which indicates that he was not

    delirious.       (Id. vol. 6, 70.)           Dr. Pinals opined that Jackson’s

    behavior that night was normal for a chronic schizophrenic with

    Jackson’s limitations; Dr. Wetli testified that he was not an

    expert on schizophrenia and could not form an opinion on the

    matter.       (Id. vol. 5, 31-32, 37-39; id. vol. 7, 175, 177.)                        The

    Court     accepts      Dr.   Pinals’s      opinion         that   Jackson        was    not

    delirious either prior to or during the altercation with the

    police.       (Id. vol. 5, 31-32.)

            Dr.    Wetli    testified     that       excited    delirium      syndrome     can

    arise instantly in response to police involvement and that it

    did so in this case.            (Id. vol. 7, 143, 155.)                However, all of

    the     published      literature     admitted       into       evidence    at     trial,

    including several articles Dr. Wetli authored or co-authored,

    involved       cases   where    the   agitated        behavior         preceded    police

    involvement.        (Id. vol. 7, 144, 150; Exs. 76-78.)                         The Court

    rejects    Dr.    Wetli’s      testimony     that    excited      delirium        syndrome

    arose    instantly      in   the   circumstances           of   this    case,     or   that

                                               43 
     
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    Jackson’s behavior during the altercation with police tends to

    prove he had excited delirium syndrome.

           Dr. Wetli further testified that death by excited delirium

    syndrome does not create any findings discernible upon autopsy.

    (Trial Tr. vol. 7, 22.)        Instead, the pathological diagnosis is

    based primarily upon accounts of the decedent’s behavior.                       (Id.

    vol. 7, 22-23.)       Dr. Gillespie testified that excited delirium

    syndrome as a cause of death can only be used as a diagnosis of

    exclusion, meaning that it can only be made if there are no

    positive    signs   at    autopsy   of     conditions      sufficient   to   cause

    death independent of excited delirium syndrome.                    (Id. vol. 6,

    29-30, 40.)      An excerpt from a treatise by Vincent DiMaio, M.D.,

    on excited delirium syndrome also expresses this opinion, and

    Dr. Wetli agreed that Dr. DiMaio is an expert on this subject.

    (Ex. 65; Trial Tr. vol. 7, 97.)                  If this opinion is correct,

    then   it   is   highly   likely    that       Jackson’s   cause   of   death    was

    sudden cardiac arrest from primary cardiac disease, and excited

    delirium syndrome should be ruled out as the cause of death,

    because the autopsy was positive for sudden cardiac arrest due

    to primary cardiac disease.

           Dr. Wetli testified to the contrary, however, stating that

    he disagreed “100%” with the contention that excited delirium

    syndrome is a diagnosis of exclusion.                (Trial Tr. vol. 7, 90.)

    He claimed never to have used the term “diagnosis of exclusion.”

                                             44 
     
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    (Id. vol. 7, 96.)                                          However, during cross-examination, Dr. Wetli

    admitted that on several occasions in other cases in which he

    testified in defense of police officers, he testified that the

    diagnosis                       of         death               by   excited       delirium   syndrome   requires    a

    negative autopsy.                                       (Id. vol. 7, 110, 115, 118.)              In these cases,

    he testified that a negative autopsy was one of the diagnostic

    criteria for diagnosing excited delirium syndrome as a cause of

    death.                     (Id.             vol.               7,   118.)     The    Court   rejects    Dr.   Wetli’s

    testimony that excited delirium syndrome is not a diagnosis of

    exclusion and concludes that it is a diagnosis of exclusion;

    here, death from sudden cardiac arrest due to primary cardiac

    disease has not been excluded, and therefore, the diagnostic

    criteria for excited delirium are not present.20

                  For the reasons above and those that follow, the Court

    finds that Jackson died of sudden cardiac arrest due to primary

    cardiac disease and that he did not experience excited delirium

    syndrome.                        The Court does not find that Jackson necessarily died

    when Plaintiff suggests, i.e., at the time of death indicated in

    the emergency room records and the death certificate.                                                         However,


                                                                
                  20
            It is worth further noting that death from excited
    delirium syndrome is very rare compared to death from sudden
    cardiac arrest due to primary cardiac disease. (Trial Tr. vol.
    7, 60.) The statistics offered at trial on this issue reported
    that, in 2004, the constellation of signs and symptoms
    associated with excited delirium syndrome were associated with
    approximately one hundred deaths in custody over a twelve-month
    period in the United States. (Id. vol. 7, 57-59; Ex. 63.)
                                                                                45 
     
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    the    Court       does     conclude       that    the     ambulance          run     report

    establishes that Jackson was alive in the ambulance because his

    heart briefly went into ventricular fibrillation on the way to

    the hospital.        (Ex. 88.)

                              2. Sudden Cardiac Arrest

           The testimony at trial was that there are, on average,

    several hundred thousand deaths per year in the United States

    due    to   sudden     cardiac      death       from    primary       cardiac       disease.

    (Trial Tr. vol. 4, 61.)             Dr. Wetli agreed that Jackson was at a

    greatly     elevated       risk    for    sudden       cardiac    death      due     to   his

    cardiac abnormalities.              (Id. vol. 7, 63-67.)                He also agreed

    that     the   altercation         with     the       police     was      sufficient      to

    precipitate such a death.                (Id. vol. 7, 66.)            Nevertheless, Dr.

    Wetli concluded that Jackson died from excited delirium syndrome

    rather      than    sudden    cardiac       arrest       due     to    primary       cardiac

    disease.       Dr. Wetli’s Rule 26 report and his testimony before

    this Court at a pre-trial Daubert hearing was that this opinion

    was    based   in    large    part       upon   his    conclusion       that       Jackson’s

    initial     rhythm    after       his    sudden    cardiac       arrest      was    asystole

    rather      than    the     ventricular         fibrillation          that    is     usually

    involved in sudden cardiac death from primary cardiac disease.

    (Id. vol. 7, 72.)            For example, Dr. Wetli’s report stated his

    opinion that the scenario involving Jackson had “all of the

    ingredients for a sudden unexpected cardiac death” except for

                                                46 
     
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    the fact that “the expected heart rhythm for a sudden cardiac

    death is ventricular fibrillation, not asystole as seen in this

    case.”    (Id. vol. 7, 62-63, 69.)

         However, Dr. Wetli issued his report before he saw the

    video.     (Id. vol. 7, 74.)        At trial, Dr. Wetli conceded during

    cross-examination that the absence of any shockable rhythm at

    the time the AED was activated showed “nothing” with respect to

    Jackson’s initial presenting rhythm, because that occurred more

    than six minutes after Jackson’s cardiac arrest.                    Therefore,

    even if Jackson’s heart rhythm initially had been ventricular

    fibrillation, that rhythm would have deteriorated to asystole by

    the time the AED was activated six minutes later.                 (Id. vol. 7,

    127.)      The   Court    accepts   Dr.    Wetli’s   testimony    upon   cross-

    examination and the testimony of Plaintiff’s experts that the

    absence of a shockable rhythm when the AED was activated in this

    case is not a conclusive indicator of Jackson’s initial heart

    rhythm when he suffered the cardiac arrest, and it does not tend

    to rule out sudden cardiac arrest due to primary cardiac disease

    as the cause of death.

         Dr.    Gillespie     testified       that   Jackson   died   from   sudden

    cardiac    arrest   due    to   cardiac    ischemia,   precipitated      by   the

    altercation with the police.          (Id. vol. 6, 23.)       The report was

    also signed by the Medical Examiner, Charles Gilson, M.D., on

    behalf of Dr. Gillespie (who had left the Medical Examiner’s

                                          47 
     
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    Office                by         the           time            the   report     was   issued),   and    the   report,

    according to Dr. Gillespie, therefore represents the opinion 21 of

    Dr. Gilson as well.                                            (Id. vol. 6, 22-23; Ex. 5.)

                  The           autopsy                   and        supporting     records   show   several      cardiac

    abnormalities,                                 including             an   enlarged      heart,    a     seventy-five

    percent                  stenosed                     coronary        artery,     and   focal    fibrosis     to   the

    ventricle, which all experts agreed increased Jackson’s chances

    of ischemia and cardiac arrest if he physically exerted himself.

    (Trial Tr. vol. 4, 55-56; id. vol. 6, 25-27; id. vol. 7, 62-65;

    Ex. 5.)                       In addition, Jackson smoked tobacco products and was

    overweight, both of which increased the risk of sudden cardiac

    arrest, especially upon exertion.                                               (Id. vol. 4, 56.)

                  Dr. Gillespie and Dr. Brown both testified that if Jackson

    had not been in an altercation with the police, he would not

    have died.                          (Id. vol. 4, 57; id. vol. 6, 34-35.)                              They explained

    that such physical exertion placed demands upon the heart that

    Jackson’s heart was unable to withstand.                                                   (Id. vol. 4, 55-56;

    id. vol. 6, 33.)                                      While Dr. Wetli did not go that far, he agreed

    that the altercation was sufficient to provoke a sudden cardiac

    arrest in Jackson.                                              (Id. vol. 7, 66.)         The Court finds that

    Jackson’s physical altercation with the police was a substantial

    contributing factor of his suffering a sudden cardiac arrest.
                                                                
                  21
            That opinion was set forth in the autopsy report before
    Dr. Gillespie was contacted and asked to serve as an expert in
    this case. (Trial Tr. vol. 6, 31; Ex. 5.)
                                                                              48 
     
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                  H.             The Life-Saving Potential of AED and CPR

                  Expert testimony was presented at trial on the critical

    issue of what impact, if any, earlier deployment of CPR and AED

    would               have              had            on        the   likelihood   that   Jackson   would   have

    survived. 22                        Much of this testimony, however, struck the Court as

    overly general and vague.                                              Moreover, as discussed below, very

    little, if any, information was provided to place the expert

    testimony into a meaningful context.

                  Plaintiff’s expert, Dr. Brown, testified that if the AED

    had been activated within a “five minute window” after Jackson

    stopped breathing, it is more likely than not that Jackson would

    have survived his cardiac arrest. (Id. vol. 4, 52-54.)                                                Because

    thirty seconds elapsed between Jackson’s cardiac arrest and his

    arrival at the station, that window must be curtailed to 04:30

    after arrival at the station.                                            Plaintiff’s experts Dr. Brown and


                                                                
                  22
              As noted above, Defendants’ excited delirium syndrome
    hypothesis goes to this issue. Defendants argue that any delay
    in calling rescue or providing CPR is irrelevant because neither
    it nor the AED would have been effective against sudden cardiac
    arrest due to excited delirium syndrome.    Dr. Wetli testified
    that both CPR and the AED would have been ineffective to
    resuscitate Jackson, or, if it had been effective, Jackson would
    have survived only three to five days in the hospital.      (Id.
    vol. 7, 25-26, 29-30, 36.) According to Dr. Wetli, if a person
    experiences excited delirium and becomes unconscious and loses
    vital signs, even if there are paramedics on the scene and the
    person is resuscitated immediately, the person will generally
    die within three to five days in the hospital as a result of
    multiple organ failure.   (Id. vol. 7, 26.)    Because the Court
    rejects the excited delirium syndrome theory, this testimony is
    inapposite to the analysis here.
                                                                             49 
     
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    Captain Alfred Peterson agreed that Jackson’s chance of survival

    if        the           AED           was           activated          during       the   first   five   minutes   was

    greater than fifty percent. 23                                               (Id. vol. 4, 52-54; id. vol. 8,

    86.)               They each further testified that prompt administration of

    CPR increases the window of time within which AED is effective.

    (Id.             vol.              4,          107;             id.   vol.    8,     84-85.)      Captain    Peterson

    testified that, thus, if Defendants had promptly begun CPR, this

    window                 would                have               been   “dramatically”        expanded     beyond    five

    minutes.                       (Id. vol. 8, 94-95.)                                This testimony was based upon

    the assumption that Jackson’s heart rhythm went into ventricular

    fibrillation, which Plaintiff’s experts and Defendants’ expert

    all agreed is the usual course for sudden cardiac arrest due to

    primary cardiac disease.                                              (Id. vol. 4, 104-05; id. vol. 6, 35;
                                                                
                  23
            The Court is troubled by the fact that readily available
    data suggests that Jackson had a lower chance of survival to
    hospital discharge than that presented at trial. See, e.g., Amy
    L.   Valderrama,   Ph.D.,   Centers   for   Disease   Control   and
    Prevention,   Out-of-Hospital   Cardiac   Arrest   Surveillance   —
    Cardiac Arrest Registry to Enhance Survival (CARES), United
    States, October 1, 2005 — December 31, 2010 (July 29, 2011),
    available       at       http://www.cdc.gov/mmwr/preview/mmwrhtml/
    ss6008a1.htm (last visited Aug. 10, 2012).           Such evidence
    suggests that 44.5% of people who suffer cardiac arrest
    witnessed by a 911 responder with an initial rhythm of
    ventricular fibrillation survive to discharge and 58.3% survive
    to hospital admission. (Id. fig.9 at 3.) That being said, of
    cardiac arrest victims whose cardiac arrest is witnessed by a
    911 responder with any initial heart rhythm, 18.6% survive to
    discharge and 38.5% survive to admission to the hospital. These
    data, clearly readily available and apparently reliable, were
    not introduced into the record and the Court may not rely on it.
    And while it is not necessarily outcome changing, for the
    reasons explained below, it likely would have assisted the Court
    on this critical issue.
                                                                                 50 
     
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    id. vol. 7, 69.)          Dr. Brown testified that Jackson’s heart was

    probably in ventricular fibrillation and “shockable” for that

    five-minute period.           (Id. vol. 4, 123.)              Dr. Wetli offered no

    opinion concerning Jackson’s prognosis if he experienced sudden

    cardiac arrest rather than excited delirium syndrome, other than

    the opinion in his Rule 26 report that if Jackson “were in v-fib

    or     ventricular    fibrillation,          the   AED       would   have     delivered

    essentially life-saving electrical shock . . . .”                        (Id. vol. 7,

    71.)     While Dr. Wetli did not agree that Jackson experienced

    sudden cardiac arrest due to primary cardiac disease, Dr. Wetli

    did not take issue with Plaintiff’s experts’ testimony regarding

    the five-minute window if indeed primary cardiac disease was the

    cause of his sudden cardiac arrest.                      Indeed, he acknowledged

    that Dr. Brown’s testimony that after sudden cardiac arrest the

    heart    usually     goes    from   ventricular         fibrillation     to   asystole

    after five minutes “sounds reasonable.”                  (Id. vol. 7, 89-90.)

            Dr. Brown could not say whether Jackson would have survived

    to hospital discharge nor what his quality of life would have

    been like had he survived.            (Id.     vol. 4, 84.)

            At trial, Dr. Brown testified that his opinion concerning

    the five-minute window was based upon data that estimates the

    times    within    which     administration        of    an    AED   restores    normal

    heart    rhythm     and     ensures    survival         in    patients   with    sudden

    cardiac    arrest     due    to   primary      cardiac       disease,    at   least   to

                                             51 
     
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    discharge from the hospital, although the source of this data is

    not entirely clear to the Court.                (Id. vol. 4, 108.)            Captain

    Peterson agreed that the data was based on restoring normal

    heart rhythm and survival through discharge from the hospital.

    (Id.   vol.    8,   94.)    No    evidence      was    offered      by    either    side

    concerning      Jackson’s    prognosis          after        discharge      from    the

    hospital.

           I.     Injuries Sustained by Jackson

           In connection with the autopsy, Dr. Gillespie prepared body

    diagrams identifying all of the cuts, bruises, abrasions, or

    other signs of trauma on Jackson’s body from the altercation

    with   the    police.      (Id.   vol.    6,    72-74;       Exs.     28,   29.)     In

    addition,      numerous    autopsy    photos          show    multiple      areas     of

    bruising      and   abrasions.     (Exs.       31-47.)        These      diagrams    and

    photographs identify areas of injury all over Jackson’s body,

    including his head, hands, arms, legs, feet, chest, and back,

    that Jackson sustained during the altercation.                        (Exs. 28, 29,

    31-47.)       The Court finds that these injuries were caused by

    Jackson’s altercation with Kelley and Lukowicz.

           In addition to the physical injuries and physical pain and

    suffering he sustained, Jackson was frightened and traumatized

    from the outset of the altercation with Kelley and Lukowicz,

    including the period of time when he was handcuffed and handled



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    by the officers, up until he ultimately lost consciousness in

    the back seat of Lukowicz’s patrol car en route to the station.

    II.     Conclusions of Law

            A.     Are the Officers Entitled to Qualified Immunity for
                   Any Fourth Amendment Violation?

            Qualified       immunity        insulates           defendant-officers            from

    “liability for civil damages insofar as their conduct does not

    violate clearly established statutory or constitutional rights

    of which a reasonable person would have known.”                                  Estrada v.

    Rhode        Island,   594    F.3d      56,     62    (1st     Cir.    2010)        (quoting

    Guillemard-Ginorio v. Contreras-Gómez, 585 F.3d 508, 526 (1st

    Cir.     2009)).        In      deciding      whether        qualified       immunity       is

    appropriate,       “[a]      court     must    decide:       (1)   whether        the   facts

    alleged or shown by the Plaintiff make out a violation of a

    constitutional         right;    and    (2)     if    so,    whether       the    right    was

    ‘clearly established’ at the time of the defendant’s alleged

    violation.”        Estrada, 594 F.3d at 62-63 (quoting Maldonado v.

    Fontánes, 568 F.3d 263, 269 (1st Cir. 2009)).                         The second prong

    requires       “that   both     (1)    the    legal    contours       of    the    right    in

    question and (2) the particular factual violation in question

    would have been clear to a reasonable official.”                           Lopera v. Town

    of Coventry, 640 F.3d 388, 396 (1st Cir. 2011).                                   “Together,

    these two factors ask whether a reasonable officer, similarly

    situated, would have believed that his conduct did not violate


                                                  53 
     
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    the Constitution.”          Id.      For a right to be clearly established,

    there    does     not    need   to    be   “a    case    directly    on    point,    but

    existing precedent must have placed the . . . constitutional

    question beyond debate.”             Glik v. Cunniffe, 655 F.3d 78, 81 (1st

    Cir. 2011) (quoting Ashcroft v. al-Kidd, 131 S.Ct. 2074, 2083

    (2011)).     The inquiry focuses on “whether the state of the law

    at the time of the alleged violation gave the defendant fair

    warning that his particular conduct was unconstitutional.”                          Id.

    (quoting Maldonado, 568 F.3d at 269).                      This is an objective

    test.     Lopera, 640 F.3d at 396.               Moreover, “[i]f an officer is

    found to be deserving of qualified immunity under federal law,

    he will also be granted qualified immunity for the same claim

    under Rhode Island law.”              Estrada, 594 F.3d at 63.              The Court

    addresses Plaintiff’s constitutional claims in turn.

                 1.     Were Jackson’s Fourth Amendment Rights Violated?

            Pursuant    to    42    U.S.C.     §     1983,   Plaintiff       alleges    that

    Jackson     was    unlawfully        seized      in   violation     of    his   Fourth

    Amendment rights.          Plaintiff also asserts a related state law

    claim of assault and battery.

            For purposes of the Fourth Amendment, the officers first

    seized Jackson when Kelley executed an arm-bar hold on him.                         See

    California v. Hodari D., 499 U.S. 621, 626 (1991) (holding that

    a “seizure,” for purposes of the Fourth Amendment, has occurred

    when there has been either application of physical force or

                                               54 
     
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    submission to authority and that police pursuit alone does not

    constitute a seizure).             Defendants argue that this seizure was

    lawful for four reasons:            (1) the events leading up to Jackson’s

    detention, excluding Jackson’s flail, provided the officers with

    reasonable suspicion to detain him; (2) once Jackson flailed at

    the officers, they had reasonable suspicion to detain him; (3)

    Jackson’s flail provided the officers with probable cause to

    arrest him for assault; and (4) the struggle that ensued once

    Jackson was seized gave the officers probable cause to arrest.

    Emphasizing the pre-seizure actions of the officers, Plaintiff

    argues that the officers had neither reasonable suspicion nor

    probable cause to justify their seizure of Jackson.

                         a.    Did the Officers have Reasonable Suspicion to
                               Detain Jackson?

           Law    enforcement      officers     may    detain    an   individual       for

    questioning on the basis that they have a “reasonable suspicion

    supported by articulable facts that criminal activity ‘may be

    afoot.’”       Klaucke v. Daly, 595 F.3d 20, 24 (1st Cir. 2010)

    (quoting Schubert v. City of Springfield, 589 F.3d 496, 501 (1st

    Cir.    2009)).       A    two-part   inquiry     is   employed    in     the    First

    Circuit to evaluate the reasonableness of such an investigatory

    stop.        The   Court    must   assess   first,     “whether    the    officer’s

    action was justified at its inception,” and second, “whether the

    action       taken    was     reasonably        related     in    scope     to     the


                                              55 
     
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    circumstances         which     justified      the     interference        in   the    first

    place.”        Foley v. Kiely, 602 F.3d 28, 32 (1st Cir. 2010).                           The

    first        step    requires       that    there     was     “a   particularized         and

    objective basis for suspecting the person stopped of criminal

    activity.”          Id. (quoting United States v. Wright, 582 F.3d 199,

    205 (1st Cir. 2009)) (citations and quotations omitted).                                  The

    officer       “must    be    able    to    articulate       something      more    than    an

    inchoate and unparticularized suspicion or ‘hunch’ linking an

    individual to criminal activity.”                    United States v. Woodrum, 202

    F.3d 1, 6-7 (1st Cir. 2000) (quoting United States v. Sokolow,

    490 U.S. 1, 7 (1989)).               Accordingly, “some of the facts on which

    the officer relies must be particular, that is, specific to the

    individual.”          Id.

            In    undertaking       this       inquiry,     the    Court      evaluates     “the

    objective significance of the particular facts under all the

    circumstances,” id. (citing Reid v. Georgia, 448 U.S. 438, 441

    (1980)       (per     curiam)),      thereby        evaluating     what    a    reasonable

    officer        in     the      defendant-officer’s            position         would    have

    concluded.          United States v. Espinoza, 490 F.3d 41, 47 (1st Cir.

    2007).        While the reasonable-suspicion inquiry is an objective

    one,     “inferences          made    by    police      officers       based      on   their

    ‘experience         and     expertise’”      should    be     afforded     “due    weight.”

    Wright, 582 F.3d at 207 (quoting Ornelas v. United States, 517

    U.S. 690, 699 (1996)).                Accordingly, a court affords deference

                                                  56 
     
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    to “the experienced perceptions of the officers.”                       Woodrum, 202

    F.3d at 7 (citing Ornelas, 517 U.S. at 699–700).

          In   assessing   whether     there       was    reasonable        suspicion    to

    detain Jackson, the Court must consider the “totality of the

    circumstances,” including the events leading up to the seizure.

    See Young v. City of Providence ex rel. Napolitano, 404 F.3d 4,

    22 (1st Cir. 2005) (“The rule in this circuit is that once it is

    clear that a seizure has occurred, the court should examine the

    actions of the government officials leading up to the seizure.”

    (citing St. Hilaire v. City of Laconia, 71 F.3d 20, 26 (1st Cir.

    1995)); see also St. Hilaire, 71 F.3d at 26 n.4 (noting that,

    “once it is established that there has been a seizure,” courts

    may   consider   the   facts    leading        up    to   the    seizure   (emphasis

    omitted)).

          The following facts were known to the officers leading up

    to the point at which Kelley reached for Jackson:                        there was a

    report that subjects (plural) were vandalizing the Joyal’s sign;

    the officers did not observe damage on the sign; it was 11 p.m.

    on a summer night in a mixed-use residential/commercial area;

    Jackson was alone in the parking lot behind a closed store,

    smoking    a   cigarette;      Jackson     turned         away   upon    seeing     the

    officers; Jackson had his right hand in his pocket; Jackson

    walked toward a hole in the fence, which led to a wooded area



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    and an apartment complex; and Jackson stated “you’re not the

    boss of me” in response to commands to stop walking away.

                  On these facts, there was no particularized basis on which

    to ground reasonable suspicion.                                                      While, at best, the officers

    would have been reasonable in concluding that Jackson generally

    looked                   suspicious                            or     was     behaving         oddly,     there        was    no

    particularized suspicion “grounded in specific and articulable

    facts” connecting him to any criminal activity.                                                                See Schubert,

    589 F.3d at 501 (quoting Espinoza, 490 F.3d at 47).                                                               Other than

    his physical proximity to the reportedly-vandalized sign, there

    was          no         reason                 for             the    officers       to    believe      that    Jackson      had

    participated in the reported vandalism, or any other offense.

    Indeed,                  not           only              was         the    sign     not     actually    vandalized,         but

    Jackson did not fit the description of the suspected vandals.

    Cf. United States v. Pontoo, 666 F.3d 20, 28-29 (1st Cir. 2011)

    (finding                      reasonable                         suspicion           where     the   suspect       fit       the

    description of a murder suspect in the area).

                  It may be true that most adults would stop and talk to

    police officers when approached, but it is firmly established

    that              a         person                  has             the     right     to     walk    away       from    police

    questioning. 24                              See Illinois v. Wardlow, 528 U.S. 119, 125 (2000)


                                                                
                  24
            The Court is aware that it may be that what would be
    perceived as normal behavior created an expectation by these
    officers (who were not very experienced) that Jackson should
    have stopped when told to do so; but police officers are trained
                                                                                   58 
     
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    (“[A] refusal to cooperate, without more, does not furnish the

    minimal level of objective justification needed for a detention

    or seizure.”); Florida v. Bostick, 501 U.S. 429, 437 (1991)

    (recognizing                             that             a        suspect’s                       refusal                    to          submit                 to          police

    questioning, without more, is not sufficient to furnish grounds

    for reasonable suspicion).                                                         If the right to walk away is to mean

    anything, it must mean that a person may walk away from law

    enforcement                          officers                    when             the           officers                     have            initiated                       verbal

    contact                   and           otherwise                       lack             reasonable                         suspicion                       or         probable

    cause to detain him or her, and that walking away cannot alone

    support a finding of reasonable suspicion.                                                                                         See United States v.

    Fuentes, 105 F.3d 487, 490 (9th Cir. 1997) (“People do not have

    to voluntarily give up their privacy or freedom of movement, on

    pain of justifying forcible deprivations of those same liberties

    if they refuse.”); see also United States v. Beauchamp, 659 F.3d

    560,             570-71 (6th                           Cir.              2011)               (“The                fifth                fact             --          hurriedly

    walking                  away             from             an         officer                   without                   making                 eye           contact                   --

    similarly                         does                not              rise                to            the             level                  of            independent

    suspicion. . . .                                       In those cases in which we have found that

    walking                     away               from               police                   does                contribute                           to           reasonable

    suspicion,                         specific                      facts                have              shown                that              the            defendant’s
                                                                                                                                                                                                    
    to deal not only with the common and expected, but the uncommon
    and abnormal.   Thus, this expectation of a lay person can give
    no cover to a properly trained law enforcement officer; and the
    failure of an officer to accept this principle is a failure of
    training or deliberate disregard of it.
                                                                                                59 
     
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    behavior was otherwise suspicious.”).                                                     Walking away from police

    questioning, of course, must be distinguished from evading the

    police; as the First Circuit has explained, “unprovoked running

    upon            noticing                     the           police”          constitutes    flight,    which   is   “the

    consummate act of evasion,” Wright, 582 F.3d at 210 (quoting

    Wardlow, 528 U.S. at 124) (internal quotation marks omitted)),

    and may “permit a rational inference of guilt.”                                                        United States

    v. Harris, 660 F.3d 47, 52 (1st Cir. 2011). 25                                                        But the cases

    highlighting                               evasive                   behavior       in   the   reasonable-suspicion

    analysis generally concern suspects who “slouch, crouch” or who

    engage in “other arguably evasive movement” that, combined “with

    other factors particular to the defendant,” amount to reasonable

    suspicion.                         Woodrum, 202 F.3d at 7.

                  Here,               Jackson                      was    not    evasive,    and   the   articulable    and

    particularized facts were not sufficient to amount to reasonable

    suspicion when the officers first approached him.                                                        Jackson did

    not bolt or flee from the scene; he communicated to the officers

    clearly and directly that he did not wish to speak with them by


                                                                
                  25
           Plaintiff argues vigorously that a court may not consider
    the act of walking away in the reasonable-suspicion calculus.
    However, the Court does not need to reach this issue because it
    concludes that the officers did not have reasonable suspicion to
    detain Jackson even when his walking away is considered.
    Implicit in this determination, perhaps, is that, in light of a
    person’s right to walk away, walking away from officers at a
    regular pace is not all that suspicious in the absence of other
    factors that might make it so, and therefore, it does not add
    much to the reasonable-suspicion calculus.
                                                                                  60 
     
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    stating    “You’re       not   the    boss         of    me;”   he   made   no    furtive

    movements;       and   there    was     no     testimony         suggesting      that   he

    appeared nervous or apprehensive.                       In sum, prior to the flail,

    all of the typical indicia of suspicious behavior were missing.

    Though Jackson did ignore commands to remove his hand from his

    pocket, in the whole, Jackson defiantly, but directly, exercised

    his right to walk away from the officers; he did not objectively

    appear elusive or evasive.

         Moreover, while the officers’ subjective thoughts are not

    dispositive in this objective inquiry, it is telling that both

    Chief     Silva    and     Officer      Lukowicz           testified    during       their

    respective depositions that there was no reasonable basis to

    suspect that Jackson had committed, was committing, or was about

    to commit the crime of vandalism or any other crime, when the

    officers first approached Jackson.                       (Trial Tr. vol. 2, 97; id.

    vol. 7, 215-16, 220-21.)

         Even adding the “flail” to the mix, there was no reasonable

    suspicion to detain Jackson.                 When Kelley reached out to grab

    Jackson,    he    defensively        flailed        at    the   officers    in   a   clear

    attempt to intercept Kelley’s unlawful seizure.                        Particularized

    suspicion did not attach here as Jackson clearly expressed his

    desire to decline to respond to police questioning and reacted

    by flailing or swatting his arm to prevent the officer from

    effecting what clearly would have been an illegal contact with

                                                 61 
     
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    his person.         Cf. 4 Wayne R. LaFave, Search and Seizure § 9.5(f),

    at 531 (4th ed. 2004) (stating that, though police pursuit prior

    to seizure “is not subject to Fourth Amendment limits . . .

    [s]urely it does not follow that such provocative activity [by

    the police] may be deemed to provide the reasonable suspicion

    police will need once they catch up with the suspect and take

    control of him”).

           In sum, the Court concludes Kelley and Lukowicz did not

    have    “a    particularized       and    objective     basis   for      suspecting

    [Jackson]      of    criminal    activity,”       either   prior    to    Jackson’s

    flail, or after Jackson flailed in reaction to Kelley’s attempt

    to make contact.            It is further worth noting that, even if the

    officers’     stop     was    justified   by    reasonable   suspicion      at   the

    outset, the officers could not succeed on the second prong of

    the reasonable suspicion analysis; the arm-bar hold employed by

    Kelley was not “related in scope to the circumstances which

    justified the interference in the first place.”                 Foley, 602 F.3d

    at 32.       It is doubtful that an officer approaching the suspect

    of a completed misdemeanor (let alone one that appeared not to

    have taken place), which suspect is not believed to be armed or

    dangerous     and     who    exhibited    signs    of   emotional     disturbance,




                                              62 
     
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    would ever be justified in applying an arm-bar hold to effect a

    temporary detention.26

                                                b.             Did the Officers have Probable Cause to
                                                               Arrest Jackson?

                  Under the Fourth Amendment, probable cause is necessary to

    justify an arrest.                                              Glik, 655 F.3d at 85.            An officer has

    probable cause to arrest where, at the time of the arrest, the

    “facts and circumstances within the officer’s knowledge . . .

    are sufficient to warrant a prudent person, or one of reasonable

    caution,                    in         believing,                   in   the   circumstances    shown,   that   the

    suspect has committed, is committing, or is about to commit an

    offense.”                          Holder v. Town of Sandown, 585 F.3d 500, 504 (1st

    Cir. 2009) (quoting Michigan v. DeFillippo, 443 U.S. 31, 37

    (1979)).                          This             is          an   objective    test,   and   the   circumstances

    should be viewed through the eyes of “a reasonable person in the

    position of the officer.”                                             Holder, 585 F.3d at 504.

                  Defendants contend that the officers had probable cause to

    arrest Jackson for assault and resisting arrest and, therefore,

    that the seizure was justified.                                                Defendants first argue that the

    officers had probable cause to arrest Jackson for assault.                                                      The
                                                                
                  26
            Moreover, because the Court concludes that Jackson was
    unlawfully seized and, accordingly, that his Fourth Amendment
    rights were violated, it does not need to reach Plaintiff’s
    arguments that Defendants violated Jackson’s rights before
    seizing him by (1) ordering him to stop without reasonable
    suspicion, and (2) attempting to unlawfully seize him.    (See
    Pl.’s Proposed Findings of Fact and Conclusions of Law 48, ECF
    No. 154.)
                                                                               63 
     
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    parties   disagree     over   the   definition    of     assault   under   Rhode

    Island    law,   and    indeed,     the    controlling    definition   is    not

    crystal clear.         The Rhode Island Supreme Court has varyingly

    defined criminal assault as “a physical act of a threatening

    nature or an offer of corporal injury which puts an individual

    in reasonable fear of imminent bodily harm,” State v. Cardona,

    969 A.2d 667, 673 (R.I. 2009) (internal quotations and citations

    omitted); “an apparent attempt to inflict a battery, or bodily

    contact, or harm upon another,” State v. Boudreau, 322 A.2d 626,

    628 (R.I. 1974); and “an unlawful attempt or offer, with force

    or violence, to do a corporal hurt to another, whether from

    malice or wantonness,” State v. Coningford, 901 A.2d 623, 630

    (R.I. 2006) (quoting State v. Pope, 414 A.2d 781, 788 (R.I.

    1980)).    The latter two definitions are advanced by Defendants.

    In a decision on a motion for summary judgment in this case

    issued last year, this Court adopted the Rhode Island Supreme

    Court’s formulation as set forth in Cardona because it was “the

    most recent statement by the Rhode Island Supreme Court on the

    issue.”    Petro v. Town of West Warwick ex rel. Moore, 770 F.

    Supp. 2d 475, 480 n.10 (D.R.I. 2011).            Here, the Court concludes

    that, under any of the three definitions, Defendants did not

    have probable cause to arrest Jackson for assault.

         In the context of the events that took place leading up to

    Jackson’s flail/swat, a reasonable officer in Kelley’s position

                                              64 
     
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    would not have been placed in reasonable fear of imminent bodily

    harm by Jackson’s arm movement.                                                     Kelley and Lukowicz ordered

    Jackson to stop walking, to which Jackson clearly and directly

    expressed his unwillingness to do so.                                                   Kelley then reached out

    to grab a hold of Jackson.                                                  Jackson plainly swatted at Kelley in

    a defensive manner in order to avoid physical contact. 27                                                      (See

    Trial Tr. vol. 1, 55, 61.)

                  The            result                 is         no     different     under   Defendants’   preferred

    definitions of assault; under any of these three definitions,

    assault requires that the act in question be an apparent or an

    actual attempt to physically harm another.                                                    Jackson’s defensive

    movement was not “an apparent attempt to inflict a battery, or

    bodily contact, or harm upon another,” Boudreau, 322 A.2d at

    628, nor “an unlawful attempt or offer, with force or violence,

    to         do          a       corporal                        hurt    to    another,   whether   from    malice   or

    wantonness,” Coningford, 901 A.2d at 630 (internal citation and

    quotation marks omitted).                                                   The Court concludes that, from the


                                                                
                  27
            Plaintiff asks the Court to consider Jackson’s peaceable
    character and his reputation for being peaceable in determining
    whether Kelley’s demonstration at trial (which was quite
    aggressive) or during his deposition (which suggested a
    defensive movement) was the more accurate portrayal of Jackson’s
    flail/swat.   The evidence does reflect that it would have been
    out of character for Jackson to attempt to injure another person
    in the absence of provocation.    However, regardless of whether
    the Court considers Jackson’s peaceable character, the Court has
    concluded that Jackson’s flail was a defensive swat in response
    to Kelley’s attempt to grab a hold of him, making evidence of
    his character immaterial.
                                                                                  65 
     
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    standpoint of a reasonable officer in Lukowicz’s or Kelley’s

    shoes, it was clear that Jackson had no intent of inflicting

    harm or “corporal hurt” on Kelley.                                                   Indeed, Jackson was plainly

    trying to avoid making physical contact of any kind with the

    officers.                        Jackson’s swat was an attempt to protect himself from

    unwanted touching by a police officer, not an attempt to harm,

    or even to make contact with, the officer.                                                          Accordingly, the

    Court concludes that the officers did not have probable cause to

    arrest Jackson for assault.

                  Defendants                          argue,             in   the      alternative,     that      there    was

    probable                     cause               to            arrest     Jackson    for    resisting      arrest     when

    Jackson took “a full arm swing at the officer when [Kelley]

    attempted to touch Mr. Jackson . . . .”                                                     (Defs.’ Post Trial Mem.

    29, ECF No. 152.) 28                                            Plaintiff does not dispute that Jackson’s

    struggle with the officers would have provided probable cause to

    arrest                 Jackson                   for           the    distinct      crime    of    resisting     arrest.

    However,                    where               the            parties     part    company    is   on   the    issue    of


                                                                
                  28
            Defendants’ position appears to be grounded, at least in
    part, on Plaintiff’s expert, Lou Reiter’s testimony to the
    effect that, if Jackson had swung at the officers in the manner
    demonstrated by Kelley at trial, the officers would have had
    probable cause to arrest Jackson for resisting arrest or
    interfering with a police investigation. (See Trial Tr. vol. 3,
    63.)   Defendants also argue that the flail/swat gave rise to
    probable   cause   to  arrest  for   “other  criminal  charges.”
    Defendants do not specify what “other criminal charges” for
    which there may have been probable cause under Rhode Island law,
    and so the Court does not attempt to speculate as to what
    offenses Defendants may refer.
                                                                                 66 
     
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    whether this new, distinct crime (and the probable cause that it

    creates) cures any liability for the initial unlawful seizure by

    the officers.

           The   Rhode    Island   statute     criminalizing    resisting   arrest

    provides that:         “It shall be unlawful for any person to use

    force or any weapon in resisting a legal or an illegal arrest by

    a peace officer, if the person has reasonable ground to believe

    that he or she is being arrested and that the arrest is being

    made by a peace officer.”        R.I. Gen. Laws § 12-7-10(a).

           Defendants’ arguments with respect to resisting arrest are

    unpersuasive.        Under Rhode Island law, a person cannot resist an

    arrest unless he or she “has reasonable ground to believe that

    he or she is being arrested.”                  Id.   Thus, at the point of

    Jackson’s flail, there could be no probable cause for resisting

    arrest because there was no reasonable ground upon which Jackson

    could have believed the officers were attempting to arrest him.

    At the earliest, Jackson would have believed he was under arrest

    once   Kelley   placed     him   in   the      arm-bar   hold.   Accordingly,

    Jackson could not have resisted arrest, and the officers could

    not have had probable cause to arrest Jackson for resisting

    arrest, when Jackson flailed his arm.

           Defendants next argue that the officers had probable cause

    to arrest Jackson for resisting arrest because, “regardless of

    the legality of the initial stop and attempted seizure[,] . . .

                                             67 
     
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    the intervening act by Mr. Jackson of striking and kicking the

    officers   was   a   new   and     distinct       crime   thus     supplying    the

    probable    cause      necessary     to     support        the     arrest,”     and

    accordingly, that Jackson’s Fourth Amendment right to be free

    from unlawful seizure was not violated.

         A   defendant’s    resistance     to    an    unlawful       arrest   provides

    probable cause for a second, lawful arrest for resisting the

    initial, unlawful arrest.           United States v. Camacho, 661 F.3d

    718, 730 (1st Cir. 2011).           Moreover, in the criminal context,

    courts do not suppress evidence that is uncovered incident to a

    second, lawful arrest just because it follows after an initial,

    unlawful arrest.       See United States v. Schmidt, 403 F.3d 1009,

    1016 (8th Cir. 2005); United States v. Bailey, 691 F.2d 1009,

    1015 (11th Cir. 1982).

         Although the officers had probable cause to arrest Jackson

    upon his resisting, they are still liable for the precipitating

    Fourth   Amendment     violation.      The    Court       finds    that    officers

    maintain liability for an initial unlawful seizure, regardless

    of whether an arrestee commits a crime thereafter that provides

    probable cause for a new and distinct crime.                        See Green v.

    Missouri, 734 F. Supp. 2d 814, 836 (E.D. Mo. 2010) (explaining

    that there must exist probable cause at the time of arrest for

    the arrest to be lawful and that it is irrelevant whether the

    officers later developed probable cause on the basis of the

                                          68 
     
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    suspect’s    resisting    arrest).       In   support      of   their      argument,

    Defendants    cite    several    rulings      on    motions     to   suppress     in

    criminal prosecutions that apply the attenuation exception to

    the exclusionary rule.          See generally Schmidt, 403 F.3d 1009;

    Bailey, 691 F.2d 1009.         These cases are clearly inapposite to §

    1983 claims; the policy behind their reasoning hews closely to

    that     justifying   the      exclusionary        rule,   that      is,     whether

    exclusion of evidence would achieve the goal of deterring police

    conduct violative of a suspect’s constitutional rights.                         See

    Davis v. United States, 131 S. Ct. 2419, 2426-27 (2011) (stating

    that the “sole function” of the exclusionary rule is “to deter

    future Fourth Amendment violations”).

           Indeed, if Defendants prevailed on this point, the rule

    would    encourage    police     misconduct,       while    having      no   effect

    (positive or negative) on the investigation and prosecution of

    crime.     Whenever an unlawfully-seized suspect put up a modest

    fight, the officer would be effectively immunized for his or her

    initial unlawful seizure.         While the law prohibiting resistance

    to unlawful arrests makes good sense for safety’s sake, adopting

    Defendants’ view does nothing to further safety and provides

    unjustified (and unprecedented) impunity to defendant-officers.

           Accordingly,      the    Court     concludes        that      Jackson     was

    unlawfully seized without reasonable suspicion or probable cause

    and that his Fourth Amendment right to be free from unlawful

                                            69 
     
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    seizure was therefore violated.                Plaintiff also prevails on her

    claim for assault and battery because, for the same reasons,

    Jackson was detained without legal justification.                             Proffit v.

    Ricci, 463 A.2d 514, 517 (R.I. 1983).

                 2.   Was Jackson’s Fourth Amendment Right Clearly
                      Established?

          The Court must next determine whether the right to be free

    from seizure under these facts was “clearly established” when

    the   officers    seized      Jackson.         Estrada,         594    F.3d    at   62–63

    (quoting Maldonado, 568 F.3d at 269).                 The right to be free from

    an investigatory stop in the absence of reasonable suspicion, to

    be free from arrest in the absence of probable cause, and to

    walk away from police questioning each had been long clearly

    established at the time of the incident.                   See generally Terry v.

    Ohio, 392 U.S. 1 (1968) (holding that an investigatory stop

    requires reasonable suspicion); Bostick, 501 U.S. 429 (stating

    that a refusal to speak to police, without more, does not create

    reasonable suspicion); DeFillippo, 443 U.S. 31 (holding that an

    arrest requires probable cause).

          While Defendants strain to highlight several other cases,

    arguing   their    factual     similarities          to   the    instant      case,   any

    reasonable    police     officer    in   Kelley’s         or    Lukowicz’s      position

    would have understood his or her conduct to violate Jackson’s

    rights.      In   each   of   the   cases       in    which     a     court   found   the


                                             70 
     
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    officers had reasonable suspicion, the suspect appeared nervous,

    acted evasively, made movements consistent with hiding a gun,

    bore a resemblance to a murder suspect, or a combination of

    these.     See, e.g., Woodrum, 202 F.3d at 7 (attaching weight, in

    dicta, to the fact that the suspect slouched to avoid detection

    by law enforcement officers); Pontoo, 666 F.3d at 28-29 (finding

    reasonable suspicion where the suspect fit the description of a

    murder suspect in the area).         In short, no reasonable officer in

    Kelley’s or Lukowicz’s position would have believed he or she

    had   “a    particularized     and    objective       basis     for    suspecting

    [Jackson] of criminal activity.”              Id. (quoting United States v.

    Cortez,     449   U.S   411,   417-18     (1981)).          Although   officers’

    subjective opinions on the matter are not dispositive in this

    objective     inquiry,      Chief    Silva’s      and       Officer    Lukowicz’s

    testimony at their depositions that they did not believe there

    was reasonable suspicion further illuminates what the beliefs of

    reasonable officers in those circumstances would be.

          With respect to probable cause, Defendants are correct that

    a number of definitions for assault exist under current Rhode

    Island law.       However, Defendants still find themselves at a loss

    because the murkiness of the law cannot shield them where their

    conduct    was    plainly   unjustified       under   any    definition   of   the

    offense.     As discussed above, the law of Rhode Island is clear

    that assault requires that the act in question be sufficiently

                                            71 
     
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    threatening        so   as   to   put    a     reasonable         officer     in     Kelley’s

    position      in   reasonable      fear      of     imminent       bodily     harm.       See

    Cardona, 969 A.2d at 673; Coningford, 901 A.2d at 630; Boudreau,

    322 A.2d at 627-28.

           Officers undertaking the type of aggressive investigatory

    tactics used here must be prepared to handle appropriately the

    reactions of citizens who wish to be left alone.                         That is, if an

    officer does not allow a citizen to proceed on his or her way

    when commanded to stop without justification, the officer may

    not    later    argue     fear    of    imminent          harm    from   that      citizen’s

    defensive,      reactionary       gestures.          This        conclusion     is   further

    supported by Kelley’s testimony that he was not subjectively in

    fear    of     imminent      bodily     harm       from    Jackson’s     arm       movement.

    (Trial Tr. vol. 1, 58-59.)

           Accordingly, the Court concludes that Kelley and Lukowicz

    are not entitled to qualified immunity on Plaintiff’s claims

    alleging a violation of Jackson’s Fourth Amendment rights and

    her attendant state law claims of assault and battery.

           B.      Are the Officers Entitled to Qualified Immunity for
                   Any Excessive Force Employed?

           It is well settled that the “right to make an arrest or

    investigatory stop necessarily carries with it the right to use

    some degree of physical coercion or threat thereof to effect

    it.”        Graham v. Connor, 490 U.S. 386, 396 (1989).                              However,


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    where an officer uses greater than reasonable force during an

    arrest       or     investigatory              stop,        the        Fourth       Amendment      is

    implicated.          Raiche v. Pietroski, 623 F.3d 30, 36 (1st Cir.

    2010) (citing Graham, 490 U.S. at 394–95).                               To determine whether

    force was reasonable under the circumstances, a court should

    consider “three non-exclusive factors:                            (1) the severity of the

    crime    at    issue,       (2)     whether      the        suspect      poses       an    immediate

    threat to the safety of the officers or others, and (3) whether

    [the    suspect]      is     actively          resisting       arrest         or    attempting    to

    evade    arrest      by     flight.”            Raiche,       623       F.3d    at    36    (quoting

    Graham, 490 U.S. at 396).

            Plaintiff         asserts       that    she     only      presses          her    claim   for

    excessive         force    if     the    Court     concludes            that       Defendants     had

    grounds to temporarily detain Jackson, but did not have probable

    cause to arrest him.              Defendants do not appear to argue that the

    officers would have been justified in using an arm-bar hold to

    effectuate his temporary detention.                          In light of the conclusion

    in     the    preceding         discussions            of    reasonable            suspicion      and

    probable cause, the Court does not need to reach Plaintiff’s

    claim for excessive force because the Court has concluded that

    Defendants did not have grounds to temporarily detain Jackson.

            In    an   argument        closely       aligned          to    her     excessive      force

    argument, Plaintiff also argues that Jackson was justified in

    self-defense when he struggled with the officers.                                    However, once

                                                     73 
     
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    the arm-bar hold was executed, Jackson had reason to believe

    that he was under arrest, and he should have complied with that

    arrest.       See R.I. Gen. Laws § 12-7-10(a) (“It shall be unlawful

    for any person to use force or any weapon in resisting a legal

    or an illegal arrest by a peace officer, if the person has

    reasonable ground to believe that he or she is being arrested

    and    that     the   arrest      is    being        made    by    a    peace   officer.”).

    Instead, Jackson struggled to free himself from the officers’

    grip.

            Under    Rhode      Island      law,    a     person       must     submit    to     the

    authority of a police officer so long as that officer employs

    reasonable force.            State v. Botelho, 459 A.2d 947, 950 (R.I.

    1983).     Where an officer employs excessive force, a citizen has

    the right to defend himself or herself against that force.                                 Id.;

    see also State v. Ramsdell, 285 A.2d 399, 404 (R.I. 1971) (“The

    abolition of the common-law right to resist an unlawful arrest,

    therefore,      is    in    no    way   related        to    the       citizen’s     right   to

    protect    himself         from   the    excessive          force      of   what     might    be

    described as an overzealous police officer.”).                               But, “[i]f a

    citizen protects himself with a force which is greater than

    necessary, he forfeits his right to self-defense and may be

    convicted of a simple assault pursuant to § 11-5-3.”                                Ramsdell,

    285 A.2d 404.             The Rhode Island Supreme Court has summarized

    this    rule    as    a    prescription        “that        the   citizen’s        conduct    be

                                                   74 
     
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    reasonable in light of all the circumstances apparent to him at

    the moment.”          Botelho, 459 A.2d at 951.                Further, this rule

    applies equally to those individuals subject to detention and

    those subject to arrest by law enforcement officers.                     Id.

           Defendants acknowledge that in Rhode Island, under Botelho,

    a citizen retains the right to self-defense when an officer

    employs excessive force.             But, Defendants argue that Kelley’s

    attempt to place Jackson in an arm-bar hold did not amount to

    excessive      force.       The     Court     concurs.         Once    the     officers

    effectuated      the     arm-bar     hold,        Jackson    should     have    had   a

    reasonable belief that he was under arrest, and he should have

    peacefully      submitted,       regardless       of   the   arrest’s        propriety.

    Because an arm-bar hold constitutes a reasonable amount of force

    with which to effectuate an arrest (albeit, an unlawful one),

    Jackson was not justified in fighting back, particularly with

    the    force   he     applied.      In     the    absence    of   excessive      force,

    Jackson was required by law to submit to the unlawful arrest.

           Accordingly, Defendants successfully fend off Plaintiff’s

    allegations of excessive force.                    Because the Court finds no

    constitutional violation on the basis of excessive force, it

    does    not    need    to   reach    the     second    prong      of   the    qualified

    immunity analysis.




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                  C.             Are the Officers Entitled to Qualified Immunity on the
                                 Deliberate Indifference Count?29

                  Under the Fourteenth Amendment, pre-trial detainees have a

    right              to         be          free            from    deliberate        indifference       by    government

    officials.                         Surprenant v. Rivas, 424 F.3d 5, 13 (1st Cir. 2005).

    The           Fourteenth                        Amendment             affords     detainees     at    least    as    much

    protection as the Eighth Amendment affords convicted inmates.

    See           Ruiz-Rosa                      v.          Rullan,      485    F.3d    150,     155 (1st      Cir.    2007)

    (“Generally, the standard applied under the Fourteenth Amendment

    is the same as the Eighth Amendment standard.”).

                  A failure to deliver medical care provides the basis of

    such             a       claim                if         the     “acts      or    omissions    [are]     sufficiently

    harmful to evidence deliberate indifference to serious medical

    needs.”                    Estelle v. Gamble, 429 U.S. 97, 106 (1976).                                        The First

    Circuit                      has               said            that      “substandard         care,      malpractice,

    negligence,                              inadvertent                   failure       to     provide         care,     and

    disagreement as to the appropriate course of treatment” all do

    not constitute deliberate indifference.                                                   Ruiz-Rosa, 485 F.3d at

    156.               Rather, the medical care provided, or lack thereof, must

    be so inadequate so as to “constitute ‘an unnecessary and wanton

    infliction of pain’ or to be ‘repugnant to the conscience of


                                                                
                  29
           The discussion on deliberate indifference that follows is
    closely related to the discussion of gross negligence in the
    next section. The Court takes on deliberate indifference first
    because it arises in connection with the qualified immunity
    defense.
                                                                                76 
     
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    mankind.’”      Leavitt v. Corr. Med. Servs., Inc., 645 F.3d 484,

    497 (1st Cir. 2011) (quoting Estelle, 429 U.S. at 105-06).                          “The

    Supreme    Court     has     also    made        clear     that,    by    ‘deliberate

    indifference,’       it    means    more    than     ordinary      negligence,       and

    probably more than gross negligence.”                 Manarite ex rel. Manarite

    v. City of Springfield, 957 F.2d 953, 956 (1st Cir. 1992).

         To establish deliberate indifference based on “inadequate

    or delayed medical care” a plaintiff must demonstrate that (1)

    the “officials possessed a sufficiently culpable state of mind,

    namely    one   of   ‘deliberate      indifference’          to    an    inmate’s    [or

    detainee’s] health or safety,” and (2) “the deprivation alleged

    was ‘objectively, sufficiently serious.’”                   Leavitt, 645 F.3d at

    497 (quoting Burrell, 307 F.3d at 8).                       With respect to the

    subjective prong of the inquiry, “the official must both be

    aware of facts from which the inference could be drawn that a

    substantial risk of serious harm exists, and he must also draw

    the inference.”         Id. at 497 (quoting Farmer, 511 U.S. at 837).

    A   plaintiff        demonstrates          deliberate        indifference        where

    “decisions      about     medical    care        [were]    made    recklessly       with

    ‘actual knowledge of impending harm, easily preventable.’”                           Id.

    (quoting    Ruiz–Rosa,      485     F.3d    at     156).      Because      it   is    of

    constitutional dimension, deliberate indifference, unlike gross

    negligence, requires this intentional aspect; “[n]egligence, in

    contrast -- no matter how ‘gross’ it may be -- exemplifies lack

                                               77 
     
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    of care, rather than the abuse of power.”                        Germany v. Vance, 868

    F.2d 9, 18 (1st Cir. 1989).

            With respect to the objective prong, “[a] medical need is

    ‘serious’ if it is one that has been diagnosed by a physician as

    mandating treatment, or one that is so obvious that even a lay

    person       would    easily      recognize        the   necessity      for     a    doctor’s

    attention.”          Leavitt, 645 F.3d at 497 (quoting Gaudreault v.

    Municipality of Salem, 923 F.2d 203, 208 (1st Cir. 1990)).

            It    is     plain     that    the     officers         were    responsible        for

    Jackson’s      safety       and     well-being.          See    DeShaney    v.      Winnebago

    Cnty.    Dep’t.       of     Soc.    Servs.,       489   U.S.    189,    199-200        (1989)

    (“[W]hen the State takes a person into its custody and holds him

    there    against       his    will,    the     Constitution        imposes       upon    it   a

    corresponding duty to assume some responsibility for his safety

    and general well-being.”).                The issue is whether, under these

    facts,       the     subjective       culpability         required       for     deliberate

    indifference         is    correctly     imputed         to    Lukowicz,       Kelley,     and

    Thornton when they failed to perform CPR themselves until seeing

    rescue arrive, but did call for rescue and take several other

    half-hearted actions to facilitate Jackson’s care.                             See Leavitt,

    645 F.3d at 503-04 (“Where the dispute concerns not the absence

    of   help,     but    the     choice    of     a    certain     course     of    treatment,

    deliberate indifference may be found [only if] the attention

    received is so clearly inadequate as to amount to a refusal to

                                                 78 
     
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    provide essential care.” (quoting Torraco v. Maloney, 923 F.2d

    231, 234 (1st Cir. 1991) (internal quotation marks omitted)).

          Defendants     argue     that    the     officers      did       not    exhibit

    deliberate    indifference     because       they   called    rescue         and   that

    there is no constitutional mandate to perform CPR on an injured

    detainee.    See Rich v. City of Mayfield Heights, 955 F.2d 1092,

    1098 (6th Cir. 1992) (holding that, under the specific facts of

    that case, calling rescue was sufficient to defeat any claim of

    deliberate indifference and officer had no duty to perform CPR

    on detainee).       The Court rejects that general principle and

    holds that a call to rescue by a CPR-trained police officer does

    not per se defeat a claim of deliberate indifference.

          As an initial point, while several courts have cited City

    of Revere v. Massachusetts General Hospital, 463 U.S. 239, 244-

    45 (1983), for the proposition that law enforcement satisfies

    any   duty   to   provide    medical   care    by   bringing       a   detainee     to

    medical or rescue personnel for treatment, see, e.g., Tatum v.

    City and Cnty. of San Francisco, 441 F.3d 1090 (9th Cir. 2006);

    Maddox v. City of Los Angeles, 792 F.2d 1408, 1415 (9th Cir.

    1986); Stogner v. Sturdivant, Civil Action No. 10-125-JJB-CN,

    2010 WL 4056217, at *4 (M.D. La. Oct. 14, 2010), the Court takes

    issue with these courts’ reliance on City of Revere; that case

    does not hold that, as a matter of law, law enforcement officers

    satisfy their duty of care so easily.

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          In City of Revere, the Supreme Court held that the Due

    Process     Clause     “require[s]     the     responsible      government     or

    governmental agency to provide medical care to persons . . . who

    have been injured while being apprehended by the police.”                    City

    of Revere, 463 U.S. at 244.            The Court noted that, under the

    facts of that case, this constitutional obligation was satisfied

    by seeing that the injured arrestee was “taken promptly to a

    hospital that provided the treatment necessary for his injury.”

    Id.   at   245.      However,   the   issue    before   the   Court    concerned

    payment for medical care, and the Court concluded that “as long

    as the governmental entity ensures that the medical care needed

    is in fact provided,” the Constitution does not allocate costs

    between the entity and the care provider.                 Id.     The question

    before the Court was not whether an officer’s medical care (or

    emergency assistance) duty was always satisfied by bringing a

    detainee to the hospital, let alone by placing a call to rescue

    personnel.    And, in fact, City of Revere clearly stated that the

    Court “need not define, in this case, [the city’s] due process

    obligation to pre-trial detainees or to other persons in its

    care who require medical attention.”              Id. at 244.         Therefore,

    there can be no question that City of Revere is not dispositive

    of the issue presented here.

          The cases relied upon by Plaintiff on this point are far

    more persuasive on the question.             See, e.g., McRaven v. Sanders,

                                           80 
     
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    577 F.3d 974, 983 (8th Cir. 2009) (“An officer trained in CPR,

    who fails to perform it on a prisoner manifestly in need of such

    assistance, is liable under § 1983 for deliberate indifference.”

    (citing Tlamka v. Serrell, 244 F.3d 628, 633 (8th Cir. 2001)));

    Jones v. City of Cincinnati, 521 F.3d 555, 560 (6th Cir. 2008)

    (holding that officers were not entitled to qualified immunity

    on   deliberate   indifference    claim   rooted   in   their    failure   to

    provide CPR where they knew the arrestee was handcuffed and not

    breathing) (citing Estate of Owensby v. City of Cincinnati, 414

    F.3d 596, 602 (6th Cir. 2005)); Tlamka, 244 F.3d at 633 (holding

    that   corrections    officers    were    not   entitled    to    qualified

    immunity on deliberate indifference claim where they failed to

    provide CPR or to approach prisoner for ten minutes, even though

    the officers were trained in CPR and the prisoner’s condition

    was obviously life threatening); Sparks v. Susquehanna Cnty.,

    No. 3:05cv2274, 2009 WL 922489, at *10 (M.D. Pa. Apr. 3, 2009)

    (concluding that a jury could find that correctional officer was

    deliberately indifferent when she was delayed in calling for

    assistance and was unwilling to perform CPR despite having been

    trained); Ashworth v. Round Lake Beach Police Dep’t., No. 03 C

    7011, 2005 WL 1785314, at *7 (N.D. Ill. July 21, 2005) (holding

    that the failure of officers to perform CPR after calling an

    ambulance raises jury question of deliberate indifference).



                                        81 
     
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            Yet,    despite      the    grave     shortfalls         of   these     Defendants,

    which, as discussed below, clearly amount to gross negligence,

    the   evidence        does   not    convince        the    Court      that    the    officers

    “possessed a sufficiently culpable state of mind, namely one of

    ‘deliberate       indifference’          to   [Jackson’s]          health      or    safety.”

    Leavitt, 645 F.3d at 497.                The officers took several affirmative

    steps, and while the steps were not sufficient to save Jackson’s

    life,    nor     to    shield      the   officers         from    liability         for    gross

    negligence, they do tend to show that the officers’ actions were

    not   deliberately        and      intentionally          designed     to     hurt    or    kill

    Jackson.       Indeed, Defendants did summon rescue.                         And while this

    act     is     insufficient        by    itself      to      defeat      the        deliberate

    indifference allegation, it is relevant conduct:                              it evinces a

    desire or intention to help, not to hurt Jackson.                             Moreover, the

    four minutes and twenty seconds that passed simply was not of

    such an extended duration that the Court, as fact-finder, could

    infer from the timeline that their efforts were mere subterfuge,

    designed to hide their real intent to do harm.

            This is the sort of case in which the line between gross

    negligence       and    deliberate        indifference           is   clarified       --     the

    officers’ actions amount to “near recklessness” and “shockingly

    unjustified       and    unreasonable         action,”       see      Leite    v.     City    of

    Providence, 463 F. Supp. 585, 591 (D.R.I. 1978), but the reality

    of their deliberative thought process, as reflected by their

                                                  82 
     
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    actions, is simply that they were not thinking and not acting.

    They   were     young,   inexperienced             police    officers     (Thornton      was

    more experienced, but new to his leadership role) who completely

    failed to draw the inferences and conclusions that are painfully

    obvious in hindsight.               The evidence suggests that the officers

    believed that rescue was on its way and that rescue would be

    coming    the    short       distance    from       the    fire   station       next   door.

    There is no evidence to suggest that they knew that, by not

    acting, they would cause Jackson substantial harm or death.

           The    bottom     line       is   that,      with     respect      to    deliberate

    indifference,      the       objective    prong      readily      could    be     satisfied

    (see generally infra Part II.E), but the subjective prong -- the

    requirement that Defendants acted with a sufficiently culpable

    state of mind -- has not been met.                        The Court readily concedes

    that this is a close call and that a reasonable person could

    conclude that Defendants acted with intent to harm Jackson.                                 On

    balance, however, the Court believes that Defendants’ actions

    (and     inactions)          here     were    more         likely    the        result      of

    inexperience,         lack     of     training,      insensitivity,         and    perhaps

    ignorance,      but    not     abject     malice.           If    there    is     to   be    a

    distinction in the law between grossly negligent behavior and

    deliberate indifference, then it must be in what was at the root

    of the behavior.         And here, the Court finds Defendants were many

    things, but not evil.               So while the fact that these officers may

                                                 83 
     
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    not have intended affirmatively to harm Jackson does not excuse

    their                  behavior,                          it    does     deflect      Plaintiff’s      deliberate

    indifference allegations.

                  Accordingly, Plaintiff’s claim for deliberate indifference

    fails.                         Because                    the    Court    concludes      that      there    was   no

    constitutional violation, there is no need to proceed to the

    second prong of the qualified immunity analysis for deliberate

    indifference.

                  D.             Are the Officers Immune from Liability for Ordinary
                                 Negligence?30

                  Prior                to           trial,          Defendants     moved    for     partial     summary

    judgment on Plaintiff’s negligence and gross negligence claims,

    arguing,                     inter                alia,         that   R.I.    Gen.    Laws    §   9-1-27    grants

    Defendants immunity from suit for ordinary negligence for any

    failure to render emergency assistance.                                                 Plaintiff opposed the

    motion, arguing that § 9-1-27 only provides immunity to police

    officers who do not have a pre-existing duty to provide first

    aid              and               who,                 therefore,       perform       it     “voluntarily        and

    gratuitously.”                                  On October 27, 2011, the Court granted in part

    and denied in part Defendants’ motion.                                                      In this ruling, the


                                                                
                  30
           The Court directs the Clerk of the Court to deliver this
    decision to the Rhode Island General Assembly so that it may
    consider the quandary posed in this section.         The Court
    respectfully suggests that the General Assembly consider
    revising § 9-1-27 to clarify its intention with respect to the
    breadth of immunity for on duty officers and fire department
    personnel for negligence in rendering emergency aid.
                                                                             84 
     
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    Court concluded that § 9-1-27 immunizes Defendants from ordinary

    negligence but denied summary judgment in favor of Defendants on

    the gross negligence claim.         In the interest of proceeding to

    trial as quickly as possible, the Court reserved discussion of

    that ruling to this post-trial decision.

         As will be discussed below, the Court concludes that the

    officers had a common-law duty to render emergency assistance to

    Jackson   because   Jackson   was   in    the   officers’   custody,   which

    created a special relationship.            See Restatement (Second) of

    Torts § 314A (1965) (explaining duty arising out of special

    relationship).      Defendants contend that, regardless of such a

    duty, they are immune from suit for ordinary negligence under

    R.I. Gen. Laws § 9-1-27.      Section 9-1-27 provides as follows:

         No member of any police force or fire department of
         the state or any city or town, investigators of the
         department of attorney general appointed pursuant to §
         42-9-8.1, inspectors and agents of the Rhode Island
         state fugitive task force appointed pursuant to § 12-
         6-7.2, or any person acting in the capacity of a
         rescue attendant or member of a rescue squad, and no
         officer   or    member    in  active    service    in   any
         incorporated protective department cooperating with
         fire departments, and no person performing the duties
         of a firefighter in a town or city, and no member of
         any volunteer fire company or volunteer rescue squad
         or member of any voluntary ambulance association,
         whether the company or squad is incorporated or not,
         who while on duty and in the performance of that duty
         voluntarily    and    gratuitously    renders    emergency
         assistance to a person in need thereof, and no person
         properly certified by the American heart association
         or the American national red cross in basic or
         advanced    life    support    [as   defined    by    those
         organizations]    who    voluntarily   and    gratuitously

                                        85 
     
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                  renders emergency assistance to a person in need
                  thereof shall be liable for civil damages for any
                  personal injuries or property damage which result from
                  acts or omissions by the persons rendering the
                  emergency   care,   which   may  constitute   ordinary
                  negligence.   This immunity does not apply to acts or
                  omissions constituting gross, willful, or wanton
                  negligence.

    R.I. Gen. Laws § 9-1-27 (emphasis added).

                  This             statute,                        as   a   whole,    clearly   reflects   the      General

    Assembly’s intent to immunize all on-duty police officers who

    render                   emergency                         assistance         from       liability   for     ordinary

    negligence, regardless of whether they have a common-law duty to

    render aid.                              Cf. Brandon v. City of Providence, 708 A.2d 893,

    894 (R.I. 1998) (holding that § 9-1-27 immunized police officers

    who called rescue to obtain medical assistance for victim of

    drive-by shooting at crime scene to which officers were called

    and           prevented                      victim’s               brother       from   taking   victim   to   nearby

    hospital). 31                           By listing rescue personnel among those immunized,



                                                                
                  31
            There is a good argument to be made, although it has not
    been raised, that the officers in Brandon had a pre-existing,
    common-law duty to provide assistance to the victim, like the
    officers in the instant case, because they prevented the
    victim’s brother from taking him to a nearby hospital.       See
    Restatement   (Second)  of   Torts  §   326  (1965)  (“One   who
    intentionally prevents a third person from giving to another aid
    necessary to prevent physical harm to him, is subject to
    liability for physical harm caused to the other by the absence
    of the aid which he has prevented the third person from
    giving.”).    The Supreme Court of Rhode Island’s grant of
    immunity pursuant to § 9-1-27 to the Brandon officers in the
    face of this common-law duty further buttresses the conclusion
    here that the officers are entitled to immunity from liability
                                                                                86 
     
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    the General Assembly made pellucid its intent to immunize all

    on-duty personnel from ordinary negligence.

                  It is true, as Plaintiff suggests, that it is somewhat

    incongruous for the statute to provide immunity to fire, rescue,

    and police personnel who render aid “while on duty and in the

    performance                             of            that                 duty,”                    but              also                “voluntarily                                and

    gratuitously.”                                     She           offers                 the           explanation                          that             this             latter

    wording is used to exempt from immunity those personnel who had

    a pre-existing, common-law duty to provide care, and therefore,

    do not render such aid “voluntarily and gratuitously.”

                  Reading the statute as a whole, the Court cannot agree.

    Under Plaintiff’s view, firefighters and rescue personnel would

    never be immune from suit for ordinary negligence under § 9-1-27

    because the General Assembly must have been aware when enacting

    this statute that, owing to the duties inherent in their roles,

    fire and rescue personnel have a pre-existing duty to render

    assistance when on duty.                                                     See Tatum v. Gigliotti, 583 A.2d 1062,

    1065 (Md. 1991) (noting that members of ambulance or rescue

    squad have pre-existing duty to provide medical care and finding

    that            a       statute                   similar                  to         R.I.             Gen.             Laws            §       9-1-27                 provides

    immunity to them).                                           The Court cannot accept a construction that

    renders the inclusion of firefighters and rescue personnel in


                                                                                                                                                                                                    
    for ordinary negligence under § 9-1-27, regardless of any pre-
    existing common-law duty they may have had.
                                                                                                87 
     
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    this statute “mere surplusage.”                                                 See In re Proposed Town of New

    Shoreham Project, 25 A.3d 482, 508 (R.I. 2011) (quoting In re

    Harrison, 992 A.2d 990, 994 (R.I. 2010)).

                  But, Plaintiff has a point.                                        What is the Court to make of

    the           inclusion                      of         the    term   “voluntarily       and   gratuitously”      in

    granting on-duty public officials immunity from negligence for

    acts done in the performance of their duty?                                                    The Court chalks

    this up to it being a vestige of the authority upon which this

    statute was likely modeled.                                               Section 9-1-27 appears to borrow

    its          “voluntarily                             and      gratuitously”       language    from    the   statute

    granting                    immunity                     to    licensed    medical     doctors   for    negligence

    occurring in rendering emergency assistance, see R.I. Gen. Laws

    § 5-37-14.32

                  Where a statute’s language is ambiguous as to meaning, the

    Court will not construe the statute to reach a result “that is
                                                                
                  32
                         R.I. Gen. Laws § 5-37-14 provides in pertinent part:

                  No person licensed under this chapter [Board of
                  Medical Licensure and Discipline], or members of the
                  same professions licensed to practice in other states
                  of the United States, who voluntarily and gratuitously
                  and other than in the ordinary course of his or her
                  employment or practice renders emergency medical
                  assistance to a person in need of it, shall be liable
                  for civil damages for any personal injuries which
                  result from acts or omissions by these persons in
                  rendering   emergency  care,   which  may   constitute
                  ordinary negligence. This immunity does not apply to
                  acts or omissions constituting gross, willful, or
                  wanton negligence, or when rendered at any hospital,
                  doctors' offices, or clinic where these services are
                  normally rendered.
                                                                              88 
     
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    contradictory to or inconsistent with the evident purposes of

    the [enactment].”             New Engl. Dev., LLC v. Berg, 913 A.2d 363,

    375 (R.I. 2007) (quoting Carrillo v. Rohrer, 448 A.2d 1282, 1284

    (R.I.    1982)).         As   addressed      above,      the       Court   does    not   read

    “voluntarily         and      gratuitously”        to        undercut      the    officers’

    immunity here, because to do so would read out of the statute

    all on-duty firefighters and rescue personnel, and while plain

    meaning        generally         controls     in        statutory          interpretation,

    “statutes      should      not    be   construed        to    achieve      meaningless     or

    absurd       results.”        McCain    v.   Town       of    N.    Providence     ex    rel.

    Lombardi, 41 A.3d 239, 244-45 (R.I. 2012) (quoting Ryan v. City

    of Providence, 11 A.3d 68, 71 (R.I. 2011)).

            Accordingly,       the     Court     reaffirms         that     Defendants       enjoy

    immunity from any ordinary negligence claim arising from their

    failure      to   provide      Jackson      with   CPR       while    he    was    in    their

    custody.

            E.     Did the Officers Exhibit Gross Negligence?

            Gross negligence, under Rhode Island law, “demands evidence

    of near recklessness or shockingly unjustified and unreasonable

    action.”       Leite, 463 F. Supp. at 591.                   This Court has explained

    that,        “[t]o    distinguish           between          negligence      and        ‘gross

    negligence’ is not to indulge in technicalities.                                 There is a

    clear and significant difference between these two standards;

    one requires only a showing of unreasonableness while the other

                                                 89 
     
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    demands evidence of near recklessness or shockingly unjustified

    and unreasonable action.”           Id. (emphasis added).          To make out a

    negligence claim in Rhode Island, a plaintiff must demonstrate

    the familiar elements of duty, breach, causation, and damages,

    i.e.,    “a   legally    cognizable     duty   owed   by     a   defendant    to   a

    plaintiff, a breach of that duty, proximate causation between

    the conduct and the resulting injury, and the actual loss or

    damage.”      Habershaw v. Michaels Stores, Inc., 42 A.3d 1273, 1276

    (R.I. 2012) (quoting Holley v. Argonaut Holdings, Inc., 968 A.2d

    271, 274 (R.I. 2009)).

                  1.     Duty for CPR-Trained Police Officers to Render
                         CPR to Individuals in Their Custody

            First, Defendants argue that, as a matter of law, they

    cannot be held liable for gross negligence because, in their

    view, Rhode Island law imposes no duty on police officers to

    administer     CPR    under   these   circumstances.         Defendants      stress

    that there is no authority setting forth such an affirmative

    duty and that the language of R.I. Gen. Laws § 9-1-27 suggests

    that the General Assembly believed that any attempt on the part

    of an on-duty police officer to render medical assistance is an

    entirely      “gratuitous”    and     “voluntary”     act.       For   her    part,

    Plaintiff argues that a duty arose in the circumstances at bar

    because (1) Defendants precipitated Jackson’s cardiac arrest;

    and (2) Defendants’ taking custody of Jackson prevented him from


                                            90 
     
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    seeking     aid      independently,           which        established         a    special

    relationship between the officers and Jackson.

            Under Rhode Island common law, there is generally no duty

    to render aid; however, Rhode Island common law imposes a duty

    to aid “if the defendant created the plaintiff’s peril or if a

    special    relationship          exists[.]”         Kuzniar       v.    Keach,     709    A.2d

    1050,    1055 (R.I.        1998)    (summarizing         State     v.    McLaughlin,       621

    A.2d    170,   175    (R.I.        1993)).         Among       other    circumstances,       a

    special relationship giving rise to a duty to aid or protect

    exists    where     “[o]ne    who     is     required      by    law    to   take    or   who

    voluntarily        takes   the     custody     of    another       under     circumstances

    such as to deprive the other of his normal opportunities for

    protection . . . .”              Restatement (Second) of Torts § 314A; see

    also Martin v. Marciano, 871 A.2d 911, 917 (R.I. 2005) (citing

    favorably      §    314A).         Comment    f     to     §    314A    explains    that     a

    defendant

            is not required to take any action until he knows or
            has reason to know that the plaintiff is endangered,
            or is ill or injured. He is not required to take any
            action beyond that which is reasonable under the
            circumstances.    In the case of an ill or injured
            person, he will seldom be required to do more than
            give such first aid as he reasonably can, and take
            reasonable steps to turn the sick man over to a
            physician, or to those who will look after him and see
            that medical assistance is obtained.        He is not
            required to give any aid to one who is in the hands of
            apparently competent persons who have taken charge of
            him, or whose friends are present and apparently in a
            position to give him all necessary assistance.


                                                 91 
     
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    Restatement (Second) of Torts § 314A cmt. f (emphasis added).

          Here, the officers were either “required by law” to take

    Jackson    into   custody     (in    light     of    his    resisting      arrest)    or

    voluntarily did so -- either way, the officers acted “such as to

    deprive [him] of his normal opportunities for protection,” and,

    therefore, a special relationship arose that created a duty on

    the   part   of   all   three       officers    to    aid     and   protect.         See

    Restatement (Second) of Torts § 314A.                      Once the officers saw

    that Jackson was blue and pulseless, they plainly knew that he

    was endangered, ill, and/or injured.                 Comment f prescribes that

    the officers needed only to provide first aid insofar as it was

    “reasonable under the circumstances.”                      Accordingly, the Court

    holds that, under Rhode Island law, when an officer is trained

    in CPR and/or first aid, he has a duty to render CPR and/or

    first aid in circumstances where he knows, or has reason to

    know, that his detainee has been seriously harmed or is in a

    life-threatening condition and his rendering of assistance is

    likely to aid the detainee.             Calling rescue is not sufficient to

    satisfy this duty where the officer knows or has reason to know

    that his failure to provide CPR and/or first aid while awaiting

    rescue’s     arrival    may    place     the    detainee      in    risk    of   grave

    physical harm.

          While it is uncontroversial that the public does not want

    officers     providing        medical     assistance         or     first     aid    to

                                             92 
     
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    individuals when they do not have the proper training and/or

    they lack the necessary tools to provide such aid, where an

    officer has isolated a detainee from receiving help from others

    and is trained to render aid, it follows that the officer has

    the duty to make reasonable efforts to assist the detainee,

    particularly      where    the   officers      precipitated       the    events     that

    created     the     emergency        situation       in     the        first     place.

    Furthermore, the fact that police officers are immune from suit

    under R.I. Gen. Laws § 9-1-27, as discussed above, only bolsters

    this duty; because officers shoulder no risk of liability in

    administering       CPR,       the     officers’       duty       is      heightened.

    Accordingly, the Court concludes that Defendants had a duty to

    call   rescue     and     to   administer      CPR   to   Jackson       as     soon    as

    practicable and while they waited for rescue to arrive.

                2.     Breach

           In light of the foregoing outline of the applicable duty

    and the facts established herein, the Court holds that Lukowicz,

    Kelley, and Thornton were grossly negligent in breaching their

    duty to Jackson.

           The Court finds that Jackson objectively had serious and

    life-threatening medical needs when Kelley and Lukowicz found

    him unresponsive and pulseless in the back seat of Lukowicz’s

    cruiser.     Based      upon     Kelley’s      and   Lukowicz’s        testimony      and

    training,   common        knowledge,    and     Jackson’s     obvious        need     for

                                             93 
     
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    medical attention, the Court concludes that Kelley and Lukowicz

    were subjectively aware of Jackson’s serious medical need from

    the moment they assessed him in the back seat of Lukowicz’s

    cruiser and found that he was unresponsive and pulseless (01:43

    after arrival).         The Court further finds, based upon Thornton’s

    training,      deposition     testimony,             and    statement      to    the     Rhode

    Island State Police, that Thornton was subjectively aware of

    Jackson’s    serious       medical    needs          from    the   moment       Jackson    was

    removed from the cruiser (02:03 after arrival).                                 Defendants’

    subjective     understanding        is    further          demonstrated     by     the    WWPD

    general order, of which each Defendant was aware, that instructs

    all   officers      that    early     CPR       and        AED   greatly    increase       the

    survival rate for cardiac arrest.

          In light of these conclusions, and the Court’s conclusions

    above   (see    supra      Part   I.E)        with    respect      to   what     reasonable

    officers    would    have     done       in    these        circumstances,        the    Court

    further concludes that the totality of the officers’ (Lukowicz,

    Kelley, and Thornton) conduct, from the time of arrival at the

    stationhouse to the point at which rescue arrived, constituted

    gross negligence with respect to each officer.                          Indeed, there is

    a   staggering      disconnect       between          the    appearance      of    Jackson,

    obviously in critical distress, and the officers’ casual pace

    and apparent carelessness.               Defendants acted more like observers

    than police officers and first responders responsible for their

                                                  94 
     
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    detainee.       Depending upon the context, a period of four minutes

    and twenty seconds may be long or short.                        When viewed on the

    video,     in      the      context   in        which   it    occurred,     it    is     an

    unreasonable and intolerable period of time.

                  3.       Causation

                           a.     Cause-in-Fact

            Under Rhode Island law, to prevail on a claim for gross

    negligence, as with an ordinary negligence claim, a plaintiff

    must “not only prove that a defendant is the cause-in-fact of an

    injury, but also must prove that a defendant proximately caused

    the injury.”        Almonte v. Kurl, 46 A.3d 1, 18 (R.I. 2012) (citing

    State    v.     Lead     Indus.    Ass’n,       Inc.,   951   A.2d   428,   451     (R.I.

    2008)).       As discussed further below, the Court concludes that

    the confluence of several actions and inactions, in addition to

    Jackson’s preexisting health condition, caused Jackson’s death.

    At the outset, Jackson was predisposed to suffering from cardiac

    arrest due to his weight, smoking habit, and preexisting heart

    condition.         Moreover, both the officers’ unlawful seizure and

    Jackson’s       unlawful      attempt      to    resist   arrest     at   Joyal’s      were

    contributing factors of his cardiac arrest.                          Indeed, Jackson

    likely would not have suffered cardiac arrest that night if he

    had not been in the altercation with Lukowicz and Kelley.                              (See

    Trial Tr. vol. 4, 57; id. vol. 6, 34.)                    Furthermore, it is clear



                                                    95 
     
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    that the officers’ actions precipitated Jackson’s struggle, even

    if Jackson’s failure to comply was unlawful.

          Once Jackson suffered cardiac arrest, it was the cardiac

    arrest, coupled with the officers’ failure to timely administer

    CPR   and   to   properly     alert    rescue     that     ultimately    caused

    Jackson’s death.      Thus, for purposes of causation, Lukowicz and

    Kelley’s unlawful seizure, Jackson’s resisting arrest, and the

    officers’ failure to properly facilitate emergency assistance

    are all causes-in-fact of Jackson’s death.               But for any of these

    things, Plaintiff has demonstrated that it is more probable than

    not that Jackson would not have died that night.

          The   Supreme   Court    of     Rhode     Island    has   not     directly

    addressed whether, in a case like this one, it is sufficient for

    a plaintiff to show that the defendant hastened the decedent’s

    death by a mere moment in order to prevail in a wrongful death

    suit, or whether a plaintiff must prove that the decedent would

    have lived for some specified period of time, e.g., to survival

    to discharge from the hospital.             However, case law from other

    jurisdictions suggests that the Supreme Court of Rhode Island

    would hold that a plaintiff’s burden to prove causation in a

    negligence suit is satisfied upon proving that the defendant

    hastened the decedent’s death by only a moment.

          Applying Massachusetts law, the First Circuit has explained

    that, in a medical malpractice suit, where an ill person was on

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    course to die from disease prior to the purported negligence, a

    jury may award damages if a medical professional’s negligent

    procedure accelerated the decedent’s death.                   See Heinrich v.

    Sweet, 308 F.3d 48, 60 (1st Cir. 2002).              The First Circuit held,

    that, under Massachusetts law,

            [t]o make out a claim for wrongful death on a
            negligence theory, a plaintiff must show that the
            defendant’s negligence caused the plaintiff to die
            prematurely.    Harlow v. Chin, 405 Mass. 697, 545
            N.E.2d 602, 605 (1989) (“A plaintiff in a medical
            malpractice action has the burden of proving that the
            physician’s negligence was the proximate cause of the
            plaintiff’s injuries.”).      Defendants dispute their
            liability for wrongful death by focusing on this
            causation element. . . . [W]here the plaintiffs were
            terminally ill and death was imminent, plaintiffs must
            show that the defendant’s actions hastened death “even
            though it would have occurred at no very remote date
            from other causes.”     Edwards v. Warwick, 317 Mass.
            573, 59 N.E.2d 194, 196 (1945); see also Coburn v.
            Moore, 320 Mass. 116, 68 N.E.2d 5, 10 (1946) (holding
            that there was “enough to show a causal relation
            between the negligence of the defendant and the death
            of the intestate” where the defendant’s actions
            “accelerated [intestate’s] death”); Walker v. Gage,
            223 Mass. 179, 111 N.E. 776, 767 (1916) (holding that
            evidence that the accident hastened intestate’s death
            was “enough legally to constitute the accident the
            proximate cause of his death”).

    Heinrich, 308 F.3d at 60.

            This rule also has been adopted in jurisdictions across the

    country.     See In re Estate of Eliasen, 668 P.2d 110, 120 (Idaho

    1983)    (“Thus,   an   act   which    accelerates       death,   causes   death,

    according     to   both   civil       and     criminal    law.”);   Collins    v.

    Hertenstein, 90 S.W.3d 87, 96 (Mo. Ct. App. 2002) (“An act which


                                            97 
     
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    accelerates death . . . causes death.                   This is true even if the

    act hastens death by merely a moment.”) (internal citation and

    quotation marks omitted); McCahill v. N.Y. Transp. Co., 94 N.E.

    616, 617 (N.Y. 1911) (“The principle is also true, although less

    familiar,       that     one    who    has   negligently      forwarded      a   diseased

    condition, and thereby hastened and prematurely caused death,

    cannot escape responsibility, even though the disease probably

    would have resulted in death at a later time without his agency.

    It   is    easily       seen    that   the   probability       of    later   death   from

    existing causes for which a defendant was not responsible would

    probably be an important element in fixing damages, but it is

    not a defense.”); Louisville & N.R. Co. v. Northington, 17 S.W.

    880,      882   (Tenn.     1891)       (“A   man    might    be     suffering    from   an

    incurable disease, or a mortal wound, with only two days to

    live, when a negligent wrong-doer inflicted upon him an injury

    which in his condition of debility took his life, or developed

    agencies which destroyed him in one day, and yet the latter

    wrong be in a legal sense the cause of his death, though it only

    hastened        that    which    on    the   next    day     would    have   inevitably

    happened.”); Cunningham v. Dills, 145 P.2d 273, 284 (Wash. 1944)

    (“[A] person who by his wrongful or negligent act or omission

    accelerates         a     diseased       condition,         thereby     hastening       and

    prematurely causing the death of the diseased person may be held

    liable even though that disease would probably have resulted in

                                                  98 
     
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    death at a later time without any wrongful or negligent act

    having       been   committed.”).          Indeed,     Defendants       have       not     come

    forward with any authority to suggest that another rule should

    be     adopted.       Accordingly,         the      Court    looks     to    see      whether

    Plaintiff has established that the gross negligence of Lukowicz,

    Kelley, and Thornton hastened Jackson’s death, if only by a

    short period.

            As previously discussed, the Court finds that reasonable

    officers      in    the    positions     of    Lukowicz,       Kelley,      and      Thornton

    would have called rescue at 01:14 after arrival and clearly

    communicated that Jackson was not breathing and was unconscious,

    and they would have ensured that CPR was started by 01:45 after

    arrival.

            To    determine        whether     the       officers’        failure        to    act

    reasonably      and   competently        caused      Jackson’s        death,      the     Court

    must     determine        what    effect      a     proper    call     to      the      police

    dispatcher at 01:14 would have had on rescue’s response time.

    Once Palazzo put in the call to rescue to expedite at 02:22

    after    arrival,         it   took   thirty-three          seconds    for     the      police

    dispatcher to contact the fire dispatcher and, then, for the

    fire dispatcher to dispatch the call to rescue at 02:55 after

    arrival.       This amount of time acts as a fair approximation of

    how long it would have taken the dispatchers to relay a call

    accurately conveying the gravity of Jackson’s condition at 01:14

                                                  99 
     
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  after arrival.                                 Therefore, if the call had been made properly at

  01:14, rescue personnel would have heard the call from the fire

  department dispatcher at 01:47 after arrival.33

                Once Private Cahoon and other rescue personnel heard the

  dispatch, it took Cahoon one minute and twenty-five seconds to

  arrive                 on          scene                and     to    take    over    CPR   from    the   officers.

  Therefore,                        if         Cahoon            had    heard     the   dispatch     at   01:47   after

  arrival, the Court finds that he would have arrived on scene at

  03:12 after arrival, or one minute and twenty-five seconds after

  the 01:47 dispatch call.                                             From arrival on scene, it took Cahoon

  another one minute and eight seconds to activate the AED.                                                       If he

  had arrived on scene at 03:12 after arrival, he would have,

  therefore,                         activated                   and   discharged       the   AED    at   04:20   after

  arrival.                       In light of the conclusion that Jackson suffered his

  cardiac arrest thirty seconds prior to arrival (or at -00:30
                                                              
                33
          The testimony of Private Cahoon is instructive on this
  point.   According to his testimony, Private Cahoon heard the
  first call to Rescue 2 for an intoxicated male. In response, he
  proceeded downstairs to walk over to the police station in case
  they needed back up.     As he was walking down the stairs, he
  heard another transmission -- the call saying that the male was
  unconscious and to expedite.     Cahoon quickened his pace as a
  result of the second transmission, grabbed the AED and medical
  bag, and proceeded outside to the scene. Cahoon testified that,
  when the second call came to expedite, it was the first point at
  which he understood that he was the primary responder to the
  call. (Trial Tr. vol. 9, 100.) He testified that it took him
  between one and two minutes to get to Jackson after hearing the
  second transmission.      (Id. vol. 9, 95.)       During cross-
  examination, he further testified that there was nothing that
  prevented him from getting to the scene in about one minute from
  the time he heard the second transmission. (Id. vol. 9, 100.)
                                                                           100 
   
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  after arrival), the Court concludes that, in the absence of the

  officers’ gross negligence, Cahoon would have discharged the AED

  four             minutes                    and           fifty         seconds      after    Jackson       suffered    his

  cardiac arrest in the patrol car.

                The evidence presented at trial suggests that Jackson had a

  greater                   than             fifty               percent        chance    of    survival       if   Lukowicz,

  Kelley, and Thornton had not been grossly negligent.                                                              Dr. Brown

  testified that Jackson would have survived his cardiac arrest if

  the officers had not failed to start CPR and summon rescue to

  activate                    the           AED           within          the    five-minute      window,       because   his

  heart was likely in ventricular fibrillation during the five-

  minute period after he stopped breathing.                                                          (Trial Tr. vol. 4,

  51-53, 123.)                                This was undisputed at trial.                             Dr. Wetli agreed

  that             if         Jackson’s                          heart    had    been     “in   V-fib     or    ventricular

  fibrillation,                              the           AED      would       have     delivered     essentially       life-

  saving electrical shock, but such was not the case” by the time

  the           AED           actually                      was     applied.            (Id.    vol.    7,     71.)     While

  Defendants make much of the fact that Plaintiff never proved

  that Jackson was in ventricular fibrillation at any point after

  his            cardiac                    arrest,                 the     evidence       presented         suggests     that

  approximately eighty percent of people who suffer cardiac arrest

  go into ventricular fibrillation.34                                                  (Id. vol. 4, 123-24.)


                                                              
                34
                      There is evidence in the record that, at some point in
  the               ambulance,   Jackson   briefly  went   into   ventricular
                                                                                101 
   
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                Because four minutes and fifty seconds is within the five-

  minute window, the sum of these expert opinions, and the Court’s

  findings above, establish that it was more likely than not that

  Jackson                   was            alive                at          the            time              the            officers                      were              grossly

  negligent, that he was in ventricular fibrillation, and that

  their gross negligence was a cause-in-fact of his death, even if

  Jackson may not have lived much longer after sustaining such a

  heart attack. 35                                See Heinrich, 308 F.3d at 60 (“[P]laintiffs must

  show that the defendant’s actions hastened death ‘even though it

  would have occurred at no very remote date from other causes.’”

  (quoting Edwards, 59 N.E.2d at 196)).

                                              b.            Proximate Cause

                In order to establish proximate causation, a plaintiff must

  establish “that the harm would not have occurred but for the

  [act] and that the harm [was a] natural and probable consequence

  of        the           [act].”                        Almonte,                     46         A.3d            at         18         (quoting                     Pierce                 v.


                                                                                                                                                                                                  
  fibrillation, with the aid of epinephrine and atropine, on the
  way to the hospital. (Trial Tr. vol. 9, 102; Ex. 88.)
                35
          Plaintiff further relies on the so-called presumption of
  life and the ambulance run report, the emergency room records,
  and the death certificate to satisfy her burden to prove that
  Jackson was alive when the officers exhibited gross negligence
  and that his death was hastened by their gross negligence.
  Because the Court determines that other record evidence supports
  these points, it does not need to determine whether Plaintiff is
  entitled to a presumption of life or whether the ambulance and
  hospital records prove that Jackson was alive until he reached
  the hospital.    These factors do, however, support the Court’s
  conclusions.
                                                                                             102 
   
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  Providence Ret. Bd., 15 A.3d 957, 964 (R.I. 2011)).             Notably, a

  “proximate cause ‘need not be the sole and only cause.             It need

  not be the last or latter cause.           It’s a proximate cause if it

  concurs and unites with some other cause which, acting at the

  same time, produces the injury of which complaint is made.’”

  Pierce, 15 A.3d at 966 (quoting Hueston v. Narragansett Tennis

  Club, Inc., 502 A.2d 827, 830 (R.I. 1986)).

         When the proximate cause of an injury is beyond the ken of

  laypeople, expert testimony is required.              See Mills v. State

  Sales, Inc., 824 A.2d 461, 468 (R.I. 2003).              For a plaintiff’s

  verdict, the expert must demonstrate to the fact-finder that the

  injury “most probably” was the result of the grossly negligent

  act or omission.      See Almonte, 46 A.3d at 18.          While “proximate

  cause may not be established by conjecture or speculation,” it

  is    also   true   that   “proximate   cause   can   be    established   by

  circumstantial evidence, and specific direct evidence of . . .

  proximate cause is not always necessary.”             Seide v. State, 875

  A.2d 1259, 1268-69 (R.I. 2005) (quoting Martinelli v. Hopkins,

  787   A.2d   1158,   1169   (R.I.   2001)    (internal     quotation   marks

  omitted)).

         The Rhode Island Supreme Court has further recognized that,

         [t]he proper inquiry regarding legal cause involves an
         assessment of foreseeability, in which we ask whether
         the injury is of a type that a reasonable person would
         see as a likely result of his conduct.


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              Accordingly, [l]iability cannot be predicated on
         a prior and remote cause which merely furnishes the
         condition or occasion for an injury resulting from an
         intervening unrelated and efficient cause, even though
         the injury would not have resulted but for such a
         condition or occasion . . . .     A plaintiff need not
         exclude every other possible cause, but a plaintiff
         must   demonstrate   proximate  cause   by   reasonable
         inferences drawn from the facts in evidence.

  Lead    Indus.       Ass’n,     951    A.2d      at    451    (internal       citations       and

  quotation marks omitted) (alterations in original).

         It     is    against     this       legal      backdrop      that     the    Court   must

  determine whether the actions of Lukowicz, Kelley, and Thornton

  were    the    proximate        cause      of    Jackson’s         death.      As     discussed

  above, the failure to administer CPR and call rescue in a timely

  fashion was a “but for” cause of Jackson’s death.                                  Moreover, it

  is     clear       that   his     death         was     the       “natural     and     probable

  consequence of” their actions.                     Almonte, 46 A.3d at 18 (quoting

  Pierce v. Providence Ret. Bd., 15 A.3d 957, 964 (R.I. 2011)).

  Indeed,       the    knowledge        obtained         from       CPR   training      makes    it

  foreseeable that the failure to administer or properly retrieve

  emergency aid for a person who is unconscious and not breathing

  may cause that person’s death.

         There        can   be    no      question        that        the    officers’        gross

  negligence was not the sole cause of Jackson’s death.                                   Rather,

  it   was    the     confluence        of    a   number       of    events,    including       the

  officers’ unlawful seizure, Jackson’s resisting arrest, and the

  officers’ gross negligence that “produce[d] the injury of which

                                                  104 
   
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  complaint is made.”                                              Pierce, 15 A.3d at 966 (quoting Hueston,

  502 A.2d at 830).                                              Defendants are responsible for the unlawful

  seizure                    and             their                gross     negligence;       Jackson’s       intervening

  resistance, while a contributing factor to be sure, does nothing

  to reduce the chain of responsibility that hooks Defendants.

                Accordingly, the Court concludes that the gross negligence

  of         Kelley,                   Lukowicz,                   and    Thornton    was     a    proximate      cause    of

  Jackson’s death, and Plaintiff therefore prevails on her claim

  of        gross               negligence                        against    Defendants       Thornton,      Kelley,      and

  Lukowicz.36

                F.             Damages and Attorney’s Fees

                Plaintiff, as Administratrix of Jackson’s estate, seeks the

  statutory                       minimum                   damages       for   which    Rhode         Island’s     wrongful

  death statute, R.I. Gen. Laws § 10-7-2, provides; damages for

  the           pain             and           suffering              Jackson       endured       as   a   result    of   his

  unlawful seizure by Lukowicz and Kelley; punitive damages; and

  reasonable attorney’s fees.



                                                              
                36
          As a matter of law, the officers are not entitled to
  qualified immunity for gross negligence because the immunity
  that existed at common law for the rendering of first aid and
  emergency assistance by public officials was abrogated by R.I.
  Gen. Laws § 9-1-27, which sets forth the circumstances under
  which immunity is afforded for ordinary negligence but offers no
  immunity whatsoever for gross negligence.    Indeed, the Supreme
  Court of Rhode Island has applied this statute to determine the
  liability of police officers for first aid, rather than invoking
  any common-law immunity. See Brandon v. City of Providence, 708
  A.2d 893, 894 (R.I. 1998).
                                                                             105 
   
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              1.      Damages for the Fourth Amendment Violation

        Plaintiff asserts that she is entitled to damages under the

  Rhode     Island    wrongful   death       statute    because       Lukowicz     and

  Kelley’s unlawful seizure of Jackson was a proximate cause of

  his death.       While the Court also concludes that Defendants are

  liable    for    damages   under   the     wrongful   death    statute     because

  their gross negligence caused Jackson’s death, for purposes of

  completeness, the Court will also address this argument.

        Section      1983    liability      “should     be    read    against      the

  background of tort liability that makes a man responsible for

  the   natural      consequences    of     his   actions,”     and    accordingly,

  courts     employ      “traditional        tort     principles       for    making

  intervening cause determinations in the § 1983 milieu.”                        Burke

  v. McDonald, 572 F.3d 51, 60 (1st Cir. 2009) (internal citations

  omitted); see also Sanchez v. Pereira-Castillo, 590 F.3d 31, 50

  (1st Cir. 2009) (“We employ common law tort principles when

  conducting ‘inquiries into causation under § 1983.’” (quoting

  Gutierrez-Rodriguez v. Cartagena, 882 F.2d 553, 561 (1st Cir.

  1989))).

        For purposes of § 1983 liability, an actor is “responsible

  for ‘those consequences attributable to reasonably foreseeable

  intervening forces, including the acts of third parties.’”                      Id.

  at 51 (quoting Springer v. Seaman, 821 F.2d 871, 876 (1st Cir.

  1987)).    “[A] plaintiff who suffers a constitutional deprivation

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  early-on may, under § 1983, recover for his later injuries, even

  during       later    constitutional        stages     of     the    process,         if    the

  injuries are reasonably foreseeable consequences of the earlier

  deprivation of rights.”                 Reich v. Minnicus, 886 F. Supp. 674,

  685 (S.D. Ind. 1993) (citations omitted).                            A defendant-actor

  will be held liable for harm caused by intervening acts if those

  later acts are foreseeable consequences of his earlier action.

  Compare Contois v. Town of West Warwick, 865 A.2d 1019, 1027

  (R.I. 2004) (“Intervening cause exists when an independent and

  unforeseeable intervening or secondary act of negligence occurs,

  after the alleged tortfeasor’s negligence, and that secondary

  act    becomes        the   sole        proximate     cause    of        the     plaintiff’s

  injuries.”)          (emphasis     added),      with    Almeida          v.    Town    of    N.

  Providence, 468 A.2d 915, 917 (R.I. 1983) (“If the independent

  or    intervening       cause      is    reasonably     foreseeable,            the    causal

  connection remains unbroken.”) (internal citation and quotation

  marks omitted), and Testa v. Winquist, 451 F. Supp. 388, 392

  (D.R.I. 1978) (holding that “a negligent act continues to be a

  proximate, concurring cause of the injury if the intervening act

  was      a     reasonably        foreseeable          result        of        the     original

  negligence . . . even              if     the       intervening          cause        involved

  negligence or an intentional tort”).

         As discussed in more detail above, it is clear that the

  officers’ illegal seizure of Jackson in the Joyal’s parking lot

                                               107 
   
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  set into action a series of reasonably foreseeable events that

  ultimately                          led              to         Jackson’s       death.          It     was       reasonably

  foreseeable                          that              Jackson       would        resist    the      officers’     arrest,

  regardless                         of          the             legality    of     his   doing     so;      the    officers

  recognized Jackson as an emotionally disturbed person who had

  directly expressed his desire not to speak with the officers,

  but the officers proceeded to unlawfully seize him.                                                          In light of

  Jackson’s size, his status as an emotionally disturbed person,

  and the struggle that ensued, it was also reasonably foreseeable

  that             he         would               suffer            cardiac    arrest.         At      the   station,    the

  officers’                       gross                negligence           prevented        Jackson     from      receiving

  life-saving access to CPR and/or an AED.                                                          Because this gross

  negligence was of the officers’ own doing, the gross negligence

  was clearly a reasonably foreseeable result of their unlawful

  seizure.

                Accordingly, Lukowicz and Kelley’s violation of Jackson’s

  Fourth Amendment right to be free from unreasonable seizure was

  a proximate cause of his death.                                                 Therefore, even if Lukowicz and

  Kelley’s gross negligence had not been a proximate cause of

  Jackson’s death, which the Court finds it was, Lukowicz and

  Kelley would still be liable for wrongful death damages.37



                                                              
                37
         It bears emphasis that this would be so even if the Court
  had accepted Defendants’ argument that Jackson died of excited
  delirium, because Dr. Wetli agreed that the struggle was
                                                                             108 
   
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                               2.             The Rhode Island Wrongful Death Statute

                Rhode                 Island                  law             dictates                       that,                if           “any               person                   or

  corporation” is found liable under the Rhode Island Wrongful

  Death Statute, R.I. Gen. Laws §§ 10-7-1 through 10-7-4, “he or

  she or it shall be liable in damages in the sum of not less than

  two hundred fifty thousand dollars ($250,000).”                                                                                                     R.I. Gen. Laws

  § 10-7-2.                          Plaintiff argues that, given the plain language of

  the statute and its purported punitive nature, she is entitled

  to $250,000 per Defendant found liable for Jackson’s death, for

  a total of $1,000,000.                                                    Defendants counter that the statute is

  compensatory or remedial in nature, as opposed to punitive, and

  therefore,                         if          they              are            found                liable,                    the            four              Defendants

  (Lukowicz,                        Kelley,                   Thornton,                      and           the            Town),                should                 be         found

  jointly                   and            severally                       liable                 for            the            statutory                       minimum                    of

  $250,000.

                Each             party                is         quick               to          highlight                       the           weakness                     in          the

  other’s                   construction.                                     Under               Defendants’                            interpretation,                                   if

  twenty-five                            people                   jointly                    commit                   a         brutal                   murder,                     each

  defendant would be exposed to a minimum of $10,000 in wrongful

  death damages; surely that a greater number of people caused a

  wrongful death does not render the defendants any less culpable,

  Plaintiff argues.                                           But Plaintiff’s construction does not fare


                                                                                                                                                                                                  
  sufficient to cause Jackson’s sudden cardiac arrest.                                                                                                             (Trial Tr.
  vol. 7, 66.)
                                                                                             109 
   
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  any better.           Under Plaintiff’s construction, the estate of a

  person    whose       death       was      caused       by    twenty-five        people     would

  recover a minimum of $6,250,000 in damages; surely an estate

  does     not    deserve          to    recover      more      in     damages      because      the

  decedent’s death was caused by a greater number of people.                                     The

  Court agrees that neither is the decedent’s life “worth” more if

  more actors deprive him of it nor should a defendant’s liability

  be lessened where more people partake in depriving the decedent

  of    life.         But    this       is   the   scheme       with    which      the   Court    is

  presented, and accordingly, it is for the Court to determine

  what the Supreme Court of Rhode Island would find the General

  Assembly’s intent to be.

         The Supreme Court of Rhode Island has repeatedly classified

  the    Rhode    Island          wrongful        death    statute      as     compensatory       or

  remedial       in    nature,          expressing        its   purpose       as   providing      “a

  remedy for the loss sustained by the death of” the decedent.

  Walsh v. Bressette, 155 A. 1, 3 (R.I. 1931); see also Read v.

  Dunn, 138 A. 210, 212 (R.I. 1927) (“The damages are for . . .

  the    loss    to     the       estate     of    the     deceased         resulting    from    the

  death.” (citing McCabe v. Narragansett Elec. Lighting Co., 61 A.

  667, 669 (R.I. 1905))); Burns v. Brightman, 117 A. 26, 28 (R.I.

  1922) (stating that the statute’s purpose is “to provide for and

  distribute      to        the    designated       relatives          of    deceased    a    legal

  compensation for the loss caused by the wrongdoer”).

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        In an early case, McLay v. Slade, the Supreme Court of

  Rhode Island examined the punitive nature of the wrongful death

  statute in force at that time in Massachusetts.                 138 A. 212, 213

  (R.I. 1927).      In so doing, the Supreme Court distinguished the

  Rhode Island wrongful death statute on the basis that the Rhode

  Island statute serves to “provide for the recovery of damages

  against the wrongdoer as compensation . . . to the estate of the

  deceased for the loss resulting from the death.”                        Id.    The

  Supreme Court of Rhode Island continued:                   “[I]f liability be

  established, the amount of damages is dependent, not upon the

  degree of blame which shall be ascribed to the wrongdoer, but

  solely   upon    the   damage    occasioned    by    his    act.”       Id.     In

  advancing this construction, the Supreme Court of Rhode Island

  cited favorably a decision of the United States Supreme Court

  stating that, “although a statute may have in some aspect a

  punitive purpose, it should not be considered as penal in an

  international sense, unless its purpose is to punish an offense

  against the public justice of the state, and not to afford a

  private remedy to a person injured by the wrongful act.”                       Id.

  (citing Huntington v. Attrill, 146 U.S. 657 (1892)).

        Indeed,    recovery   of    damages     that    exceed     the    statutory

  minimum is provided for by § 10-7-1.1, which finds a starting

  point in the decedent’s prospective earning potential, not the

  defendant’s     culpability.      Accordingly,       it    is   clear   that   the

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  Rhode Island wrongful death statute was enacted with the aim of

  providing a decedent’s beneficiaries with compensation of not

  less than $250,000, and so, the Court holds that Defendants are

  jointly and severally liable for the $250,000.

                3.     Damages for Jackson’s Pain and Suffering

        Plaintiff also seeks damages for the pain and suffering

  endured by Jackson while he was unlawfully seized in Joyal’s

  parking lot.         Assigning such pain and suffering a monetary value

  is no easy task, and it goes without saying that “converting

  feelings   such          as    pain,   suffering,        and    mental     anguish       into

  dollars    is       not       an   exact     science.”         Correa     v.    Hosp.     San

  Francisco, 69 F.3d 1184, 1198 (1st Cir. 1995).                                 In awarding

  damages for pain and suffering, the fact-finder “is free . . .

  to harmonize the verdict at the highest or lowest points for

  which there is a sound evidentiary predicate,” so long as the

  result does not “strike such a dissonant chord that justice

  would be denied were the judgment permitted to stand.”                            Litif v.

  United States, 682 F. Supp. 2d 60, 85 (D. Mass. 2010), aff’d 670

  F.3d 39 (1st Cir. 2012) (quoting Milone v. Moceri Family, Inc.,

  847 F.2d 35, 37 (1st Cir. 1988)).

        Under        the    familiar         eggshell   plaintiff         rule,    which    is

  applicable to § 1983 suits, Defendants are liable for the full

  extent of Jackson’s pain and suffering, regardless of whether it

  was   exacerbated             by   Jackson’s     mental        health    issues.          See

                                                112 
   
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  Figueroa-Torres v. Toledo-Davila, 232 F.3d 270, 275 (1st Cir.

  2000) (“The defendant of course is liable only for the extent to

  which the defendant’s conduct has resulted in an aggravation of

  the pre-existing condition, and not for the condition as it was;

  but as to the aggravation, foreseeability is not a factor.”

  (quoting W. Page Keeton et al., Prosser and Keeton on The Law of

  Torts § 43 at 291 (5th ed. 1984))).

        Defendants estimate that the altercation between Jackson

  and Lukowicz and Kelley lasted “ten minutes or less than ten

  minutes.”     (Trial     Tr.     vol.    2,     144.)      During   the    struggle,

  Jackson was knocked down three times, pepper-sprayed twice, and

  struck at least four times with batons.                      From this, Jackson

  sustained   cuts,     abrasions,        and     bruises    all   over     his   body.

  Jackson then struggled in handcuffs for several minutes, from

  the moment he was handcuffed through the officers’ efforts to

  get him to walk and forcibly put him into the cruiser.                             He

  continued to struggle for the first half of the ride to the

  station,    until   he    lost    consciousness         in   the    back    seat   of

  Lukowicz’s cruiser.

        The Court finds that the officers and Jackson engaged in a

  vigorous fight and that Jackson was very frightened for its

  duration.    In quantifying the appropriate damages to compensate

  Jackson’s    estate      for     his    pain      and     suffering,      the   Court

  recognizes that this case must be differentiated from a case in

                                           113 
   
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  which, for example, a victim was beaten or tortured to death.

  By this, the Court does not intend to minimize Jackson’s pain

  and suffering, but rather to recognize that this event must be

  viewed within the spectrum of similar cases.                                                     In light of these

  considerations,                                    the          Court    concludes      that     $250,000      is     an

  appropriate pain and suffering award.                                                   Accordingly, Defendants

  Lukowicz, Kelley, and the Town are jointly and severally liable

  for $250,000.38

                               4.             Punitive Damages

                In order to recover punitive damages in a § 1983 suit, a

  plaintiff                       ordinarily                      must    first,     “establish[]        liability     for

  either                 compensatory                            or    nominal     damages,”   Kerr-Selgas       v.    Am.

  Airlines, Inc., 69 F.3d 1205, 1215 (1st Cir. 1995), and second,

  establish that the defendant exhibited a “reckless or callous

  indifference to” his or her constitutional rights.                                                           Powell v.

  Alexander, 391 F.3d 1, 18 (1st Cir. 2004) (quoting Smith v.

  Wade, 461 U.S. 30, 56 (1983)).

                With respect to state law tort claims, punitive damages are

  only warranted “when a defendant’s conduct requires deterrence

  and          punishment                         over           and    above    that   provided    in    an   award    of

  compensatory damages.”                                               Fenwick v. Oberman, 847 A.2d 852, 854

  (R.I. 2004) (quoting Palmisano v. Toth, 624 A.2d 314, 318 (R.I.
                                                              
                38
          With respect to the pain and suffering damages, the Town
  is a joint tortfeasor. See, e.g., Graff v. Motta, 695 A.2d 486,
  494 (R.I. 1997).
                                                                            114 
   
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  1993)    (internal     quotation      marks    omitted)).       In   order   to   be

  awarded punitive damages, a plaintiff must put forth “evidence

  of such willfulness, recklessness or wickedness, on the part of

  the party at fault, as amount[s] to criminality that should be

  punished.”        Id. at 854-55 (quoting Bourque v. Stop & Shop Cos.,

  Inc., 814 A.2d 320, 326 (R.I. 2003) (per curiam)) (internal

  quotation marks omitted).

        From the preceding discussion on the officers’ violation of

  Jackson’s    Fourth       Amendment    rights    and   their   gross   negligence

  with respect to Jackson’s need for emergency assistance, it is

  plain that the officers’ conduct was in reckless disregard for

  Jackson’s rights and well-being.                The Court believes that this

  conduct rightfully triggers a punitive-damages award in order to

  deter and punish the individual officers above that provided for

  by the compensatory damages.              See Fenwick, 847 A.2d at 854.

  Accordingly, the Court awards Plaintiff punitive damages in the

  amount of $3,000.           Each individual officer (Lukowicz, Kelley,

  and Thornton) shall be liable for $1,000 each.                  The Court orders

  that this award shall be paid by the individual Defendants and

  that the Town shall not indemnify them for this punitive-damages

  award.

               5.     Attorney’s Fees

        Plaintiff      is     entitled    to      reasonable     attorney’s    fees,

  pursuant to 42 U.S.C. § 1988.             Plaintiff’s counsel shall submit

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  an affidavit setting forth his fees as well as the supporting

  materials within thirty days of this decision.                   Defendants may

  object in the usual course, and the Court will issue an order

  thereafter.

  III. Conclusion

        For   the     reasons   set    forth    above,   the     Court    finds   for

  Plaintiff on Count I with respect to the alleged violations of

  Jackson’s     constitutional        rights    under    the     Fourth    Amendment

  against Defendants Lukowicz and Kelley; Count II for the state

  law claim of assault and battery against Defendants Lukowicz,

  Kelley, Thornton, and the Town; and Count V for gross, willful,

  or   wanton    negligence      against       Defendants      Lukowicz,     Kelley,

  Thornton,     and    the   Town.       The    Court    finds     for    Defendants

  Lukowicz, Kelley, and Thornton on Count I with respect to the

  claims of deliberate indifference and excessive force.

        Moreover, the Court awards Plaintiff $250,000 pursuant to

  the Rhode Island wrongful death statute, for which Defendants

  Lukowicz, Kelley, Thornton, and the Town will be jointly and

  severally liable; $250,000 in compensatory damages for the pain

  and suffering associated with the unlawful seizure of Jackson’s

  person for which Lukowicz, Kelley, and the Town are jointly and

  severally liable; and reasonable attorney’s fees pursuant to 42

  U.S.C. § 1988.       The Court awards punitive damages in the amount

  of $1,000 as to each individual Defendant (Lukowicz, Kelley, and

                                         116 
   
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  Thornton), to be paid by the individual Defendants and not to be

  indemnified by the Town.

        No order shall enter until all issues are resolved.




  /s/ William E. Smith
  William E. Smith
  United States District Judge
  Date: September 7, 2012




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                                                                              APPENDIX

     Time after                                                                                      Fire
                                                                                     Back Lot                    Police
      officers’                                     Event/ Transcription of                       Department   Department
     arrival at                                      Dispatch Transmissions         Video Timer
                                                                                                   Timer39       Timer40
       station

       [-1:50]41                            Police Transmission #1                                             23:10:41

                                            72: 72 to headquarters.

                                            Dispatcher: Come in.



                                                            
              39
       The fire department timer has been synchronized to the video timer (and therefore
synchronized to time after arrival) by using when Officer Kelley can be viewed on the
video performing chest compressions from 23:14:50 to 23:14:53 on the video timer (04:20
to 04:23 after arrival) as a point of reference.    The Court finds that Private Cahoon
radioed the fire dispatch, saying “Engine 1 to rescue.       It appears to be a code”
simultaneous to Officer Kelley performing chest compressions on Jackson (01:54 to 01:57
on the fire department timer).
              40
        The police department timer was synchronized to the video timer (and therefore
synchronized to time after arrival) by using when Officer Palazzo can be viewed on the
video speaking into his lapel at 23:12:52 on the video timer (02:22 after arrival) as a
point of reference.   The Court finds that Palazzo was telling the police dispatcher to
have rescue personnel “step it up” when he spoke into his lapel, which is recorded on the
police dispatch as occurring at 23:14:53.
              41
        The times that appear in brackets and highlighted in grey have been extrapolated
by the Court using the points of reference for synchronization of the various clocks, as
discussed supra n.39 & 40.


 
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    Time after                                                                Fire
                                                             Back Lot                        Police
     officers’         Event/ Transcription of                             Department      Department
    arrival at          Dispatch Transmissions              Video Timer
                                                                             Timer39         Timer40
      station

                    72: 80 and I are going to be
                    77 with a male subject. We
                    don’t know his name. Code 2,
                    very large EDP. Have S-61
                    meet us downstairs.

                    Dispatcher: 10-4

       0:00            OFFICERS ARRIVE AT LOT.               23:10:30

      [1:14]        Police Transmission #2                                                   23:13:45

                    Palazzo: 75 to headquarters.

                    Dispatcher: Come in.

                    Palazzo: Can you start
                    another rescue downstairs
                    for this male?

                    Dispatcher: 10-4.

                    [Police dispatch contacted
                    fire department dispatch and
                    fire department dispatch
                    asked for a reason for the
                    call.]


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    Time after                                                                Fire
                                                             Back Lot                        Police
     officers’         Event/ Transcription of                             Department      Department
    arrival at          Dispatch Transmissions              Video Timer
                                                                             Timer39         Timer40
      station

      [1:30]        Dispatcher: 75.

                    Palazzo: Come in.

                    Dispatcher: Rescue’s asking
                    for a reason.

                    Palazzo: Possible minor
                    injuries and intoxicated
                    male. Unconscious male.

                    Dispatcher: 10-4.

       2:22            PALAZZO        Police                 23:12:52                        23:14:53
                     SPEAKS INTO      Transmission
                        LAPEL.        #3

                                      Palazzo: 75,
                                      have them
                                      step it up.

                                      Dispatcher:
                                      10-4.




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    Time after                                                                Fire
                                                             Back Lot                        Police
     officers’         Event/ Transcription of                             Department      Department
    arrival at          Dispatch Transmissions              Video Timer
                                                                             Timer39         Timer40
      station

      [2:26]        Fire Dept. Transmission                                    0:00

                    Beep

      [2:31]        Dispatcher: Rescue 2 still                                 0:05
                    alarm.

                    Beep
      [2:39]                                                                   0:13
                    Dispatcher: Rescue 2 respond
                    rear police station male
                    ETOH.



                    Telephone sounds twice in                                  0:29
                    background
      [2:55]
                    Beep

                    Dispatcher: Rescue 2 respond
                    rear police station male
                    ETOH unconscious. Police are
                    asking to expedite. Time out
                    23:13.




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     Time after                                                                Fire
                                                              Back Lot                        Police
      officers’         Event/ Transcription of                             Department      Department
     arrival at          Dispatch Transmissions              Video Timer
                                                                              Timer39         Timer40
       station

    4:20 (start)         OFFICER      Fire Dept.              23:14:50          1:54
                          KELLEY      Transmission             (start)        (start)
     4:23 (end)         PERFORMS
                           CHEST      Pvt. Cahoon:      23:14:53 (end)      1:57 (end)
                     COMPRESSIONS.    Engine 1 to
                                      rescue. It
                                      appears to be
                                      a code.

        4:24         PVT. CAHOON TAKES JACKSON’S              23:14:54
                                PULSE.

       [4:29]        Fire Dept. Transmission                                    2:03

                     Lt. Croft: Engine 1 on
                     scene.

        4:31          LT. CROFT TAKES OVER CHEST              23:15:01
                             COMPRESSIONS.

       [4:32]        Fire Dept. Transmission                                    2:06

                     Dispatcher: Engine 1’s on
                     scene. 23:14.




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    Time after                                                               Fire
                                                            Back Lot                        Police
     officers’        Event/ Transcription of                             Department      Department
    arrival at         Dispatch Transmissions              Video Timer
                                                                            Timer39         Timer40
      station

       7:29        FIRE RESCUE 2    Fire Dept.              23:17:59          5:03
                     ARRIVES ON     Transmission
                       SCENE.
                                    Rescue
                                    Personnel:
                                    Rescue’s on                               5:07
                                    scene.

                                    Dispatch:
                                    Rescue 1 on
                                    scene. 23:17.




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